Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19    Page 1 of 98 PageID 1557




                       APPENDIX OF EXHIBITS
                      TO MOTION TO INTERVENE

EXHIBIT                    EXHIBIT DESCRIPTION                      PAGE
  NO.                                                             NUMBERS

  A.         Declaration of Beth Handler                               1-4

  B.         Declaration of Kathryn Kost                               5-38

  C.         U.S. Dep’t of Labor, FAQS About Affordable Care           39-49
             Act Implementation Part 36 (Jan. 9, 2017)

  D.         Proposed Order to Motion to Intervene                     50-55

  E.         Proposed Opposition to Plaintiffs’ Motion for             56-80
             Summary Judgement and Permanent Injunction

  F.         Proposed Brief Supporting Opposition                      81-97
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 2 of 98 PageID 1558




                                                               NV Exh A 0001
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 3 of 98 PageID 1559




                                                               NV Exh A 0002
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 4 of 98 PageID 1560




                                                               NV Exh A 0003
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 5 of 98 PageID 1561




                                                               NV Exh A 0004
 Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                 Page 6 of 98 PageID 1562


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



RICHARD W. DEOTTE et al.,
                                           Plaintiffs,

v.
                                                         Case No. 4:18-CV-00825-O
ALEX M. AZAR II, in his official capacity as
Secretary of Health and Human Services et al.,

                                        Defendants.


NEVADA,

                    Proposed Intervenor-Defendant.



     DECLARATION OF KATHRYN KOST IN SUPPORT OF NEVADA’S MOTION TO
                             INTERVENE

I, Kathryn Kost, declare:

     1. I am the Acting Vice President for Domestic Research at the Guttmacher Institute. I have

worked for the Guttmacher Institute in a full-time or consulting capacity for nearly 30 years

since joining the Institute as a Senior Research Associate in 1989. I received my BA in sociology

from Reed College and my PhD in sociology from Princeton University, where I specialized in

demography at the Office of Population Research.

     2. The Guttmacher Institute is a private, independent, nonprofit, nonpartisan corporation

that advances sexual and reproductive health and rights through an interrelated program of

research, policy analysis, and public education. The Institute’s overarching goal is to ensure

quality sexual and reproductive health for all people worldwide by conducting research

according to the highest standards of methodological rigor and promoting evidence-based

policies. It produces a wide range of resources on topics pertaining to sexual and reproductive




                                                                                  NV Exh B 0005
    Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 7 of 98 PageID 1563



health and publishes two peer-reviewed journals. The information and analysis it generates on

reproductive health and rights issues are widely used and cited by researchers, policymakers, the

media and advocates across the ideological spectrum.

      3. Over the course of more than 30 years, I have designed, executed, and analyzed

numerous quantitative and qualitative research studies in the field of reproductive health care,

including those on contraceptive use and failure, unintended pregnancy, maternal and child

health, and the impact on public health and fisc associated with particular reproductive health

care policies or trends. My peer-reviewed research has been published in dozens of articles,

including first-authored work in Demography, Perspectives on Sexual and Reproductive Health,
Contraception, Studies in Family Planning and other public health, medical and demographic

journals. My education, training, responsibilities and publications are set forth in greater detail in

my curriculum vitae, a true and correct copy of which is attached as Exhibit A. I submit this

declaration as an expert on reproductive health care, family planning, and unintended pregnancy,

and the impact on individuals, families, and the public health from access to contraception and

related care, or interference with that care, in the United States.

      4. I understand that this lawsuit involves a challenge to the Affordable Care Act’s (“ACA”)

contraceptive coverage mandate and rulemaking by the U.S. Department of Health and Human

Services related to the contraceptive coverage mandate. In my expert opinion, an injunction of

the mandate would compromise women’s ability to obtain contraceptive methods, services and

counseling and, in particular, to consistently use the best methods for them, thus putting them at

heightened risk of unintended pregnancy.


             Contraception Is Widely Used and the Majority of Women Rely on Numerous
                         Contraceptive Methods for Decades of Their Lives
      5. More than 99% of women aged 15–44 who have ever had sexual intercourse have used at

least one contraceptive method; this is true across a variety of religious affiliations. 1 Some 61%

1
 Daniels K, Mosher WD and Jones J, Contraceptive methods women have ever used: United States, 1982–
2010, National Health Statistics Reports, 2013, No. 62, https://www.cdc.gov/nchs/products/nhsr.htm.



                                                                                         NV Exh B 0006
    Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                       Page 8 of 98 PageID 1564



of all women of reproductive age are currently using a contraceptive method. 2 Among women at

risk of an unintended pregnancy (i.e., women aged 15–44 who have had sexual intercourse in the

past three months, are not pregnant or trying to conceive, and are not sterile for noncontraceptive

reasons), 90% are currently using a contraceptive method. 3

      6. A typical woman in the United States wishing to have two children will, on average,

spend three decades—roughly 90% of her reproductive life––avoiding unintended pregnancy. 4

      7. Women and couples rely on a wide range of contraceptive methods: In 2014, 25% of

female contraceptive users relied on oral contraceptives and 15% on condoms as their most

effective method. That means that six in 10 contraceptive users relied on other methods: female

or male sterilization; hormonal or copper intrauterine devices (IUDs); other hormonal methods

including the injectable, the ring, the patch and the implant; and behavioral methods, such as

withdrawal and fertility awareness methods. 5
      8. Most women rely on multiple methods over the course of their reproductive lives, with

86% having used three or more methods by their early 40s. 6 Sometimes, women and couples

may try out different methods to find one that they can use consistently or that minimizes side

effects. Other times, they may switch from method to method—such as from condoms to oral

contraceptives to sterilization—as their relationships, life circumstances and family goals evolve.

      9. Many people use two or more methods at once: 17% of female contraceptive users did so

the last time they had sex. 7 For example, they may use condoms to prevent STIs and an IUD for

2
  Kavanaugh ML and Jerman J, Contraceptive method use in the United States: trends and characteristics between
2008, 2012 and 2014, Contraception, 2017, https://www.guttmacher.org/article/2017/10/contraceptive-method-use-
united-states-trends-and-characteristics-between-2008-2012.
3
  Kavanaugh ML and Jerman J, Contraceptive method use in the United States: trends and characteristics between
2008, 2012 and 2014, Contraception, 2017, https://www.guttmacher.org/article/2017/10/contraceptive-method-use-
united-states-trends-and-characteristics-between-2008-2012.
4
  Sonfield A, Hasstedt K and Gold RB, Moving Forward: Family Planning in the Era of Health Reform, New York:
Guttmacher Institute, 2014, https://www.guttmacher.org/report/moving-forward-family-planning-era-health-reform.
5
  Kavanaugh ML and Jerman J, Contraceptive method use in the United States: trends and characteristics between
2008, 2012 and 2014, Contraception, 2017, https://www.guttmacher.org/article/2017/10/contraceptive-method-use-
united-states-trends-and-characteristics-between-2008-2012
6
  Daniels K, Mosher WD and Jones J, Contraceptive methods women have ever used: United States, 1982–
2010, National Health Statistics Reports, 2013, No. 62, https://www.cdc.gov/nchs/products/nhsr.htm.
7
  Kavanaugh ML and Jerman J, Concurrent multiple methods of contraception in the United States, poster presented
at the North American Forum on Family Planning, Atlanta, Oct. 14–16, 2017.



                                                                                             NV Exh B 0007
    Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                        Page 9 of 98 PageID 1565



the most reliable prevention of pregnancy. Or they may use multiple methods simultaneously—

for instance, condoms, withdrawal and oral contraceptives—to provide extra pregnancy

protection.

          Women Need Access to the Full Range of Contraceptive Options to Most Effectively
                                 Avoid Unintended Pregnancies
      10. Using any method of contraception greatly reduces a woman’s risk of unintended

pregnancy. Sexually active couples using no method of contraception have a roughly 85%

chance of experiencing a pregnancy in a one-year period, while the risk for those using a

contraceptive method ranges from 0.05% to 28%. 8,9

      11. All new contraceptive drugs and devices (just like other drugs and devices) must receive

approval from the U.S. Food and Drug Administration (FDA) and must be shown to be safe and

effective through rigorous scientific testing. Thus, the federal government itself provides the

oversight to ensure that contraception is safe and effective in preventing pregnancy.

      12. The government’s effort to imply in Final Rules issued in 2018 (2018 Final Rules) that

there is doubt about whether contraception reduces the risk of unintended pregnancy is simply

unfounded, as the data above illustrate. Though the 2018 Final Rules cite “conflicting evidence”

for the effects of a contraceptive coverage requirement, 10 in the previous interim final rules, the

government made positive arguments that contraceptive access did not reduce the risk of

unintended pregnancy. This argument is flawed. For example, in the interim final rules the

government argued, “In the longer term—from 1972 through 2002—while the percentage of




8
  Sundaram A et al., Contraceptive failure in the United States: estimates from the 2006-2010 National Survey of
Family Growth, Perspectives on Sexual and Reproductive Health, 2017, 49(1):7–16,
https://www.guttmacher.org/journals/psrh/2017/02/contraceptive-failure-united-states-estimates-2006-2010-
national-survey-family.
9
  Trussell J, Aiken A, “Contraceptive Efficacy” pp. 829–928. In Hatcher RA et al., eds., Contraceptive Technology,
21st ed., New York: Ayer Company Publishers, 2018.
10
   Department of the Treasury, Department of Labor and Department of Health and Human Services, Religious
exemptions and accommodations for coverage of certain preventive services under the Affordable Care Act, Federal
Register, 83(221):57536–57590, https://www.gpo.gov/fdsys/pkg/FR-2018-11-15/pdf/2018-24512.pdf



                                                                                              NV Exh B 0008
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                             Page 10 of 98 PageID 1566



sexually experienced women who had ever used some form of contraception rose to 98 percent,

unintended pregnancy rates in the Unites States rose from 35.4 percent to 49 percent.” 11

     13. However, the government’s assertion in the interim final rules that unintended pregnancy

rates rose between 1972 and 2002 was incorrect and based on faulty calculations and an

inappropriate comparison. First, the numbers cited (35.4% and 49%) are the percentage of all

pregnancies that were unintended, not the unintended pregnancy rate, which is the appropriate

indicator for assessing trends in unintended pregnancy because it is not affected by changes in

the incidence of intended pregnancy. Second, the 1972 figure includes only births (not all

pregnancies), and then only those births that were to married women. 12 Births to unmarried
women and all abortions are excluded; the proportion of both of these that were unintended were

significantly higher, so excluding them results in an artificially low percentage. The 2002 figure,

on the other hand, includes all pregnancies to all women. An appropriate comparison of rates

based on pregnancies and on all women in the population shows a clear decline in the rate: In

1971, there were an estimated 2.041 million unintended pregnancies (including births and

abortions, but excluding miscarriages), 13 and 43.6 million women of reproductive age (15–44), 14

for an unintended pregnancy rate (excluding miscarriages) of 47 per 1,000 women. By contrast,

in 2011, the unintended pregnancy rate including miscarriages was 45 per 1,000. 15 Even when

including miscarriages in the later rate, it is lower than the earlier rate; because miscarriages

typically represent about 14% of all pregnancies, 16 excluding them from the 2011 figure for

comparability would result in a rate of about 38 per 1,000, substantially lower than the 1971 rate.

11
   Department of the Treasury, Department of Labor and Department of Health and Human Services, Religious
exemptions and accommodations for coverage of certain preventive services under the Affordable Care Act, Federal
Register, 82(197):47838–47862, https://www.gpo.gov/fdsys/pkg/FR-2017-10-13/pdf/2017-21852.pdf.
12
   Weller RH and Heuser RL, Wanted and unwanted childbearing in the United States: 1968, 1969, and 1972
National Natality Surveys, Vital and Health Statistics, 1978, No. 32.
13
   Tietze C, Unintended pregnancies in the United States, 1970–1972, Family Planning Perspectives, 1979,
11(3):186–188.
14
   National Center for Health Statistics, Centers for Disease Control and Prevention, Population by age groups, race,
and sex for 1960–1997, no date, https://www.cdc.gov/nchs/data/statab/pop6097.pdf.
15
   Finer LB and Zolna MR, Declines in unintended pregnancy in the United States, 2008–2011, New England
Journal of Medicine, 2016, 374(9):843–852.
16
   Finer LB and Henshaw SK, Disparities in rates of unintended pregnancy in the United States, 1994 and 2001,



                                                                                                NV Exh B 0009
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                            Page 11 of 98 PageID 1567



    14. Although using any method of contraception is more effective in preventing pregnancy

than not using a method at all, having access to a limited set of methods is far different than

being able to choose from among the full range of methods to find the best methods for a given

point in a woman’s life.

    15. One important consideration for most women in a choosing a contraceptive method is

how well a method works for an individual woman to prevent pregnancy. 17 IUDs and implants,

for example, are effective for years after they are inserted by a health care provider, and do not

require women using them to think about contraception on a day-to-day basis. 18 By contrast,

birth control pills must be taken every day, at approximately the same time. Nearly half of
abortion patients who were users of birth control pills reported that they had forgotten to take

their pills, and another quarter reported a lack of ready access to their pills (16% were away from

their pills and 10% ran out). 19 Methods of contraception designed to be used during intercourse,

such as condoms or spermicide, must be available, accessible, remembered, and used properly

each time intercourse occurs.

    16. Beyond effectiveness, there are many other features that people say are important to them

when choosing a contraceptive method. 20 These include concerns about and past experience with

side effects, drug interactions or hormones; affordability and accessibility; how frequently they

expect to have sex; their perceived risk of HIV and other STIs; the ability to use the method

confidentially or without needing to involve their partner; and potential effects on sexual

enjoyment and spontaneity. For example, methods such as male condoms, fertility awareness and

Perspectives on Sexual and Reproductive Health, 2006, 38(2):90–96,
https://www.guttmacher.org/journals/psrh/2006/disparities-rates-unintended-pregnancy-united-states-1994-and-
2001.
17
   Lessard LN et al., Contraceptive features preferred by women at high risk of unintended pregnancy, Perspectives
on Sexual and Reproductive Health, 2012, 44(2):194–200.
18
   Winner B et al., Effectiveness of long-acting reversible contraception, New England Journal of Medicine,
366(21):1998–2007.
19
   Jones RK, Darroch JE and Henshaw SK, Contraceptive use among U.S. women having abortions in 2000–2001,
Perspectives on Sexual and Reproductive Health, 2002, 34(6): 294–303,
https://www.guttmacher.org/journals/psrh/2002/11/contraceptive-use-among-us-women-having-abortions-2000-
2001.
20
   Lessard LN et al., Contraceptive features preferred by women at high risk of unintended pregnancy, Perspectives
on Sexual and Reproductive Health, 2012, 44(2):194–200.



                                                                                               NV Exh B 0010
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                             Page 12 of 98 PageID 1568



withdrawal require the active and effective participation of male partners. By contrast, methods

such as IUDs, implants, and oral contraceptives can be more reliably used by the woman alone in

advance of intercourse. 21

     17. Being able to select the methods that best fulfill a woman’s needs and priorities is an

important way to ensure that she will be satisfied with her chosen methods. Women who are

satisfied with their current contraceptive methods are more likely to use them consistently and

correctly. For example, one study found that 30% of neutral or dissatisfied users had a temporal

gap in use, compared with 12% of completely satisfied users. 22 Similarly, 35% of satisfied oral

contraceptive users had skipped at least one pill in the past three months, compared with 48% of

dissatisfied users. 23
     18. Consistent contraceptive in turn use helps women and couples prevent unwanted

pregnancies and plan and space those they do want. The two-thirds of U.S. women (68%) at risk

of unintended pregnancy who use contraceptives consistently and correctly throughout a year

account for only 5% of all unintended pregnancies. In contrast, the 18% of women at risk who

use contraceptives but do so inconsistently account for 41% of unintended pregnancies, and the

14% of women at risk who do not use contraceptives at all or have a gap in use of one month or

longer account for 54% of unintended pregnancies. 24

     19. In summary, the ability to choose from among the full range of contraceptive methods

encourages consistent and effective contraceptive use, thereby helping women to avoid

unintended pregnancies and to time and space wanted pregnancies.



21
   Bailey MJ, More power to the pill: the impact of contraceptive freedom on women’s life cycle labor supply,
Quarterly Journal of Economics, 2006, 121(1): 289–320, https://academic.oup.com/qje/article-
abstract/121/1/289/1849021?redirectedFrom=fulltext.
22
   Guttmacher Institute, Improving contraceptive use in the United States, In Brief, New York: Guttmacher Institute,
2008, https://www.guttmacher.org/report/improving-contraceptive-use-united-states.
23
   Guttmacher Institute, Improving contraceptive use in the United States, In Brief, New York: Guttmacher Institute,
2008, https://www.guttmacher.org/report/improving-contraceptive-use-united-states.
24
   Sonfield A, Hasstedt K and Gold RB, Moving Forward: Family Planning in the Era of Health Reform, New
York: Guttmacher Institute, 2014, https://www.guttmacher.org/report/moving-forward-family-planning-era-health-
reform.



                                                                                                NV Exh B 0011
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                             Page 13 of 98 PageID 1569


             Access to Contraception Does Not Increase Adolescent Sexual Activity

     20. Adolescent pregnancy has declined dramatically over the past several decades: In 2013,

the U.S. pregnancy rate among 15–19-year-olds was at its lowest point in at least 80 years and

had dropped to about one-third of a recent peak rate in 1990. 25 The adolescent birthrate has

continued to fall sharply from 2013–2016, suggesting that the underlying pregnancy rates have

likely declined even further. 26 Over these decades, adolescents’ sexual activity has not

increased—in fact, it has declined—while their contraceptive use has increased.

     21. National data limited to adolescents attending high school document long-term increases

from 1991–2015 in the share of students using contraception, and decreases over the same time

period in the share of students who are sexually active. 27 Several studies have validated that

contraceptive access reduces adolescent pregnancy without increasing sexual activity: The vast

majority (86%) of the decline in adolescent pregnancy between 1995 and 2002 was the result of

improvements in contraceptive use; only 14% could be attributed to a decrease in sexual

activity. 28 Further, when examining these same two factors, all of the decline in the more recent

2007–2012 period was attributable to better contraceptive use: More adolescents were using

contraception, they were using more effective methods, and they were using them more

consistently, while adolescent sexual activity did not change. 29


25
   Kost K, Maddow-Zimet I and Arpaia A, Pregnancies, Births and Abortions Among Adolescents and Young
Women in the United States, 2013: National and State Trends by Age, Race and Ethnicity, New York: Guttmacher
Institute, 2017, https://www.guttmacher.org/report/us-adolescent-pregnancy-trends-2013.
26
   Martin JA, Hamilton BE and Osterman MJK, Births in the United States, 2016, NCHS Data Brief, 2017, No. 287,
https://www.cdc.gov/nchs/products/databriefs.htm.
27
   National Center for HIV/AIDS, Viral Hepatitis, TD, and TB Prevention, Centers for Disease Control and
Prevention (CDC), Trends in the Prevalence of Sexual Behaviors and HIV Testing National YRBS: 1991–2015,
Atlanta: CDC, no date, https://www.cdc.gov/healthyyouth/data/yrbs/pdf/trends/2015_us_sexual_trend_yrbs.pdf.
28
   Santelli JS et al., Explaining recent declines in adolescent pregnancy in the United States: the contribution of
abstinence and improved contraceptive use, American Journal of Public Health, 2007, 97(1): 150–156,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1716232/.
29
   Lindberg L, Santelli J and Desai S, Understanding the decline in adolescent fertility in the United States, 2007–
2012, Journal of Adolescent Health, 2016, 59(5): 577–583, http://www.jahonline.org/article/S1054-139X(16)30172-



                                                                                               NV Exh B 0012
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                                   Page 14 of 98 PageID 1570


      22. Recent trends in adolescent contraceptive use buttress this point: During 2011–2015, 81%

of adolescent girls used contraception the first time they had sex, up from 75% in 2002; the share

of adolescent girls who were sexually active stayed stable. 30,31 Similarly, use of emergency

contraception among sexually active female adolescents increased from 8% in 2002 to 22% in

2011–2013; there was no significant change in sexual activity during this time. 32 And in a 2010

review of seven randomized trials of emergency contraception, there was no increase in sexual

activity (e.g., reported number of sexual partners or number of episodes of unprotected

intercourse) in adolescents given advanced access to emergency contraception. 33

      23. Along the same lines, studies of the availability of contraception in high schools provide

evidence that it does not lead to more sexual activity. Rather, while several studies of school-

based health care centers that provide contraceptive methods have shown contraceptives’

availability increases students’ use of contraception, 34,35 other studies have not found any

associated increases in sexual activity. 36 And a recent review of studies of school-based condom




0/fulltext.
30
   Martinez G, Copen CE and Abma JC, Teenagers in the United States: Sexual activity, contraceptive use, and
childbearing, 2006–2010 National Survey of Family Growth, Vital Health Statistics, 2011, Series 23, No. 31,
https://www.cdc.gov/nchs/products/series/series23.htm.
31
   Abma JC and Martinez G, Sexual activity and contraceptive use among teenagers in the United States, 2011–
2015, National Health Statistics Reports, 2017, No. 104, https://www.cdc.gov/nchs/products/nhsr.htm.
32
   Martinez GM and Abma JC, Sexual activity, contraceptive use, and childbearing of teenagers aged 15–19 in the
United States, NCHS Data Brief, 2015, No. 209, https://www.cdc.gov/nchs/products/databriefs.htm.
33
   Meyer JL, Gold MA and Haggerty CL, Advance provision of emergency contraception among adolescent and
young adult women: a systematic review of literature, Journal of Pediatric and Adolescent Gynecology, 2011,
24(1):2–9, http://www.jpagonline.org/article/S1083-3188(10)00203-2/fulltext.
34
   Minguez M et al., Reproductive health impact of a school health center, Journal of Adolescent Health, 2015,
56(3): 338–344, https://www.ncbi.nlm.nih.gov/pubmed/25703321.
35 Knopf FA et al., School-based health centers to advance health equity: a Community Guide systematic review, American Journal of Preventive Medicine, 2016, 51(1): 114-126,

http://www.ajpmonline.org/article/S0749-3797(16)00035-0/fulltext.
36
  Kirby D, Emerging Answers 2007: Research Findings on Programs to Reduce Teen Pregnancy and Sexually
Transmitted Diseases, Washington, DC: The National Campaign to Prevent Teen and Unplanned Pregnancy,
2007, https://thenationalcampaign.org/sites/default/files/resource-primary-download/EA2007_full_0.pdf.



                                                                                                                                              NV Exh B 0013
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                                    Page 15 of 98 PageID 1571


availability programs found condom use increased the odds of students using condoms, while

none increased sexual activity. 37

                Eliminating the Cost of Contraception Leads to Improved Contraceptive Use and
                               Reduces Women’s Risk of Unintended Pregnancy
      24. Extensive empirical evidence demonstrates what common sense would predict:

eliminating costs leads to more effective and continuous use of contraception. That is because

cost can be a substantial barrier to contraceptive choice. The contraceptive methods that can be

purchased over the counter at a neighborhood drugstore for a comparatively low cost––male

condoms and spermicide––are far less effective than methods that require a prescription and a

visit to a health care provider, 38 which have higher up-front costs. 39

      25. The most effective methods of contraception are long-acting reversible contraceptives

(LARC), such as implants and IUDs. Even with discounts for volume, the cost of these devices

exceeds $500, exclusive of costs relating to the insertion procedure, 40 and the total cost of

initiating one of these methods generally exceeds $1,000. 41 To put that cost in perspective,

beginning to use one of these devices costs nearly a month’s salary for a woman working full

time at the federal minimum wage of $7.25 an hour. 42 These costs are dissuasive for many

women not covered by the contraceptive coverage guarantee; one pre-ACA study concluded that

women who faced high out-of-pocket IUD costs were significantly less likely to obtain an IUD

than women with access to the device at low or no out-of-pocket cost. And only 25% of women

who requested an IUD had one placed after learning the associated costs. 43 Even oral

contraceptives, which are twice as effective as condoms in practice, require a prescription and

37 Wang T et al., The effects of school-based condom availability programs (CAPs) on condom acquisition, use and sexual behavior: a systematic review,
                                                                                                        AIDS and
Behavior, 2017, https://www.ncbi.nlm.nih.gov/pubmed/28625012.
38
   Trussell J, Aiken A, “Contraceptive Efficacy” pp. 829–928. In Hatcher RA et al., eds., Contraceptive Technology,
21st ed., New York: Ayer Company Publishers, 2018.
39
   Trussell J et al., Cost effectiveness of contraceptives in the United States, Contraception, 2009, 79(1):5–14.
40
   Armstrong E et al., Intrauterine Devices and Implants: A Guide to Reimbursement, 2015,
https://www.nationalfamilyplanning.org/file/documents----reports/LARC_Report_2014_R5_forWeb.pdf.
41
   Eisenberg D et al., Cost as a barrier to long-acting reversible contraceptive (LARC) use in adolescents, Journal of
Adolescent Health, 2013, 52(4):S59–S63, http://www.jahonline.org/article/S1054-139X(13)00054-2/fulltext.
42
   29 U.S.C. § 206(a)(1)(C). At 40 hours a week, that amounts to $290 a week, before any taxes or deductions.
43
   Gariepy AM et al., The impact of out-of-pocket expense on IUD utilization among women
with private insurance, Contraception, 2011, 84(6):e39–e42, https://escholarship.org/uc/item/1dz6d3cx.



                                                                                                                                                NV Exh B 0014
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                             Page 16 of 98 PageID 1572



have monthly costs. And although some stores offer certain pill formulations at steep discounts,

access to those cost savings can require a woman to change to a different formulation than the

one prescribed by her clinician and increases her risk of adverse health effects.

     26. The government acknowledges that without coverage, many methods would cost women

$50 per month, or upwards of $600 per year, and in doing so, implies that such costs are a

minimal burden. This is not true. For example, a national study found that about one-third of

uninsured people and lower-income people in the United States would be unable to pay for

an unexpected $500 medical bill, and roughly another third would have to borrow money or put

it on a credit card and pay it back over time, with interest. 44
     27. Without insurance coverage to defray or eliminate the cost, the large up-front costs of the

more-effective contraceptive methods put them out of reach for many women who want them,

driving them to less expensive and less effective methods. In a study conducted prior to the

contraceptive coverage guarantee, almost one-third of women reported that they would change

their contraceptive method if cost were not an issue. 45 This figure was particularly high among

women relying on male condoms and other less effective methods such as withdrawal. A study

conducted after the enactment of the ACA had similar findings: among women in the study who

still lacked health insurance in 2015, 44% agreed that having insurance would help them to

afford and use birth control and 44% agreed that it would allow them to choose a better method

for them; 48% also agreed that it would be easier to use contraception consistently if they had

coverage. 46 Among insured women who still had a copayment using a prescription method (e.g.,

those in grandfathered plans), 40% agreed that if the copayment were eliminated, they would be

44
   DiJulio B et al., Data note: Americans’ challenges with health care costs, 2017, https://www.kff.org/health-
costs/poll-finding/data-note-americans-challenges-with-health-care-costs/?utm_campaign=KFF-2017-March-
Polling-Beyond-The-ACA.
45
   Frost JJ and Darroch JE, Factors associated with contraceptive choice and inconsistent method use, United States,
2004, Perspectives on Sexual and Reproductive Health, 2008, 40(2):94–104,
https://www.guttmacher.org/journals/psrh/2008/factors-associated-contraceptive-choice-and-inconsistent-method-
use-united.
46
   Bearak JM and Jones RK, Did contraceptive use patterns change after the Affordable Care Act? A descriptive
analysis, Women’s Health Issues, 2017, 27(3):316–321, http://www.whijournal.com/article/S1049-3867(17)30029-
4/fulltext.



                                                                                                NV Exh B 0015
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                             Page 17 of 98 PageID 1573



better able to afford and use birth control, 32% agreed this would help them choose a better

method, and 30% agreed this would help them to use their methods of contraception more

consistently. Other studies have found that uninsured women are less likely to use the most

expensive (but most effective) contraceptive methods, such as IUDs, implants, and oral

contraceptives, 47 and are more likely than insured women to report using no contraceptive

method at all. 48,49

     28. Reducing financial barriers is critical to increasing access to effective contraception.

Before the ACA provision went into effect, 28 states required private insurers that cover

prescription drugs to provide coverage of most or all FDA-approved contraceptive drugs and

devices. 50 These programs gave women access at lower prices than if contraception were not
covered, but (at the time) all states still allowed insurers to require cost-sharing. Experience from

these states demonstrates that having insurance coverage matters. 51 Privately insured women

living in states that required private insurers to cover prescription contraceptives were 64% more

likely to use some contraceptive method during each month a sexual encounter was reported than

women living in states with no such requirement, even after accounting for differences including

education and income. 52

47
   Culwell KR and Feinglass J, The association of health insurance with use of prescription contraceptives,
Perspectives on Sexual and Reproductive Health, 2007, 39(4):226–230.
48
   Culwell KR and Feinglass J, The association of health insurance with use of prescription contraceptives,
Perspectives on Sexual and Reproductive Health, 2007, 39(4):226–230.
49
   Culwell KR and Feinglass J, Changes in prescription contraceptive use, 1995–2002: the effect of insurance
coverage, Obstetrics & Gynecology, 2007, 110(6):1371–1378, https://www.ncbi.nlm.nih.gov/pubmed/18055734.
50
   Guttmacher Institute, Insurance coverage of contraceptives, State Policies in Brief (as of July 2012), 2012.
51
   The government argued in the interim final rules that the state mandates have not been effective, asserting that
“Additional data indicates that, in 28 States where contraceptive coverage mandates have been imposed statewide,
those mandates have not necessarily lowered rates of unintended pregnancy (or abortion) overall.” The study the
government relied on for this assertion was published in a law review rather than in a peer-reviewed scientific
journal. [See New MJ, Analyzing the impact of state level contraception mandates on public health outcomes, Ave
Maria Law Review, 2015, 13(2):345–369.] One basic flaw in this article is that, at the time, none of the state
contraceptive coverage mandates eliminated out-of-pocket costs entirely, which is the major advance from the
federal guarantee and the issue in this case. In addition, over the course of the period the article evaluated,
contraceptive coverage quickly became the norm in the insurance industry—even in states without mandates—thus
minimizing potential differences between states with laws and states without them. [Sonfield et al. U.S. insurance
coverage of contraceptives and impact of contraceptive coverage mandates, 2002, Perspectives on Sexual and
Reproductive Health, 2004, 36(2):72–79, https://www.guttmacher.org/sites/default/files/pdfs/pubs/journals/
3607204.pdf.]
52
   Magnusson BM et al., Contraceptive insurance mandates and consistent contraceptive use among privately



                                                                                                NV Exh B 0016
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                           Page 18 of 98 PageID 1574



    29. Although these state policies reduced women’s up-front costs, other actions to eliminate

out-of-pocket costs entirely—which is what the federal contraceptive coverage guarantee does—

have even greater potential to increase women’s ability to use methods effectively. For example,

when Kaiser Permanente Northern California eliminated patient cost-sharing requirements for

IUDs, implants, and injectables in 2002, the use of these devices increased substantially, with

IUD use more than doubling. 53 Another example comes from a study of more than 9,000 St.

Louis-region women who were offered the reversible contraceptive method of their choice (i.e.,

any method other than sterilization) at no cost for two to three years, and were “read a brief

script informing them of the effectiveness and safety of” IUDs and implants. 54 Three-quarters of
those women chose long-acting methods (i.e., IUDs or implants), a level far higher than in the

general population. Likewise, a Colorado study found that use of long-acting reversible

contraceptive methods quadrupled when offered with no out-of-pocket costs along with other

efforts to improve access. 55

    30. Government-funded programs to help low-income people afford family planning services

provide further evidence that reducing or eliminating cost barriers to women’s contraceptive

choices has a dramatic impact on women’s ability to choose and use the most effective forms of

contraception. Each year, among the women who obtain contraceptive services from publicly

funded reproductive health providers, 57% select hormone-based contraceptive methods, 18%

use implants or IUDs, and 7% receive a tubal ligation. 56 It is estimated that without publicly

supported access to these methods at low or no cost, nearly half (47%) of those women would


insured women, Medical Care, 2012, 50(7):562–568.
53
   Postlethwaite D et al., A comparison of contraceptive procurement pre- and post-benefit change, Contraception,
2007, 76(5): 360–365
54
   Peipert JF et al., Preventing unintended pregnancies by providing no-cost contraception, Contraception, 2012,
120(6):1291–1297.
55
   Ricketts S, Klinger G and Schwalberg G, Game change in Colorado: widespread use of long-acting reversible
contraceptives and rapid decline in births among young, low-income women, Perspectives on Sexual and
Reproductive Health, 2014, 46(3):125–132.
56
   Frost JJ and Finer LB, Unintended pregnancies prevented by publicly funded family planning services: Summary
of results and estimation formula, memo to interested parties, New York: Guttmacher Institute, June 23, 2017,
https://www.guttmacher.org/sites/default/files/pdfs/pubs/Guttmacher-Memo-on-Estimation-of-Unintended-
Pregnancies-Prevented-June-2017.pdf.



                                                                                              NV Exh B 0017
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                          Page 19 of 98 PageID 1575



switch to male condoms or other nonprescription methods, and 28% would use no contraception

at all. 57

             The ACA’s Contraceptive Coverage Guarantee Has Had a Positive Impact

     31. By ensuring coverage for a full range of contraceptive methods, services and counseling

at no cost, the ACA’s contraceptive coverage mandate has had its intended effect of removing

cost barriers to obtaining contraception. Between fall 2012 and spring 2014 (during which time

the coverage guarantee went into wide effect), the proportion of privately insured women who

paid nothing out of pocket for the pill increased from 15% to 67%, with similar changes for

injectable contraceptives, the vaginal ring and the IUD. 58 Similarly, another study found that
since implementation of the ACA, the share of women of reproductive age (regardless of

whether they were using contraception) who had out-of-pocket costs for oral contraceptives

decreased from 21% in 2012 to just 4% in 2014. 59 These trends have translated into considerable

savings for U.S. women: one study estimated that pill and IUD users saved an average of about

$250 in copayments in 2013 alone because of the guarantee. 60

     32. Before the ACA, contraceptives accounted for between 30–44% of out-of-pocket health

care spending for women. 61 Individual women themselves say that the ACA’s contraceptive

coverage guarantee is working for them. In a 2015 nationally representative survey of women

aged 18–39, two-thirds of those who had health insurance and were using a hormonal

contraceptive method reported having no copays; among those women, 80% agreed that paying

nothing out of pocket helped them to afford and use their birth control, 71% agreed this helped

57
   Frost JJ and Finer LB, Unintended pregnancies prevented by publicly funded family planning services: Summary
of results and estimation formula, memo to interested parties, New York: Guttmacher Institute, June 23, 2017,
https://www.guttmacher.org/sites/default/files/pdfs/pubs/Guttmacher-Memo-on-Estimation-of-Unintended-
Pregnancies-Prevented-June-2017.pdf.
58
   Sonfield A et al. Impact of the federal contraceptive coverage guarantee on out-of-pocket payments for
contraceptives: 2014 update, Contraceptive, 2015, 91(1):44–48.
59
   Sobel L, Salganicoff A and Rosenzweig C, The Future of Contraceptive Coverage, Kaiser Family Foundation
(KFF) Issue Brief, Menlo Park, CA: KFF, 2017, https://www.kff.org/womens-health-policy/issue-brief/the-future-
of-contraceptive-coverage/.
60
   Becker NV and Polsky D, Women saw large decrease in out-of-pocket spending for contraceptives after ACA
mandate removed cost sharing, Health Affairs, 2015, 34(7):1204–1211.
61
   Becker NV and Polsky D, Women saw large decrease in out-of-pocket spending for contraceptives after ACA
mandate removed cost sharing, Health Affairs, 2015, 34(7):1204–1211.



                                                                                            NV Exh B 0018
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                         Page 20 of 98 PageID 1576



them use their birth control consistently, and 60% agreed that having no copayment helped them

choose a better method for them. 62

     33. Demonstrating the population-level impact of the ACA’s coverage provision (e.g., a

change in unintended pregnancy rates) is complicated, because the provision affects only a

subset of U.S. women, and because there are so many additional variables that affect women’s

pregnancy intentions, contraceptive use and ultimately the unintended pregnancy rate in the

population. The evidence on whether the ACA’s provision has affected contraceptive use at the

population level is not definitive, but some studies suggest the guarantee has had an impact on

contraceptive use, among those benefiting from the provision.

     34. A study using claims data from 30,000 privately insured women in the Midwest found

that the ACA’s reduction in cost sharing was tied to a significant increase in the use of

prescription methods from 2008 through 2014 (before and after the ACA provision went into

effect), particularly long-acting methods. 63 Another study of health insurance claims from
635,000 privately insured women nationwide showed that rates of discontinuation and

inconsistent use of contraception declined from 2010 to 2013 (again, before and after the ACA

provision went into effect) among women using generic oral contraceptive pills after the

contraceptive guarantee’s implementation (among women using brand-name oral contraceptives,

only the discontinuation rate declined). 64

     35. Two other studies, looking at the broader U.S. population, found no change in overall use

of contraception or an overall switch from less-effective to more-effective methods among

women at risk of unintended pregnancy before and after the guarantee’s implementation. 65,66

62
   Bearak JM and Jones RK, Did contraceptive use patterns change after the Affordable Care Act? A descriptive
analysis, Women’s Health Issues, 2017, 27(3):316–321, http://www.whijournal.com/article/S1049-3867(17)30029-
4/fulltext.
63
   Carlin CS, Fertig AR and Down BE, Affordable Care Act’s mandate eliminating contraceptive cost sharing
influenced choices of women with employer coverage, Health Affairs, 2016, 35(9):1608–1615.
64
   Pace LE, Dusetzina SB and Keating NL, Early impact of the Affordable Care Act on oral contraceptive cost
sharing, discontinuation, and nonadherence, Health Affairs, 2016, 35(9):1616–1624.
65
   Bearak JM and Jones RK, Did contraceptive use patterns change after the Affordable Care Act? A descriptive
analysis, Women’s Health Issues, 2017, 27(3):316–321, http://www.whijournal.com/article/S1049-3867(17)30029-
4/fulltext.



                                                                                           NV Exh B 0019
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                           Page 21 of 98 PageID 1577



However, both studies identified some positive trends among key groups. One of them found that

between 2008 and 2014, among women aged 20–24 (the age group at highest risk for unintended

pregnancy), LARC use more than doubled, from 7% to 19%, without a proportional decline in

sterilization. 67 The other study showed that between 2012 and 2015, use of prescription

contraceptive methods, and birth control pills in particular, increased among sexually inactive

women, suggesting that more women were able to start a method before becoming sexually

active or use a method such as the pill for noncontraceptive reasons after implementation of the

contraceptive coverage guarantee. 68

     36. There is also considerable empirical data from controlled experiments to confirm that the

concept of removing cost as a barrier to women’s contraceptive use is a major factor in reducing

their risk for unintended pregnancy, and the abortions and unplanned births that would otherwise

follow. For example, a study of more than 9,000 St. Louis-region women who were offered the

reversible contraceptive method of their choice at no cost found that the number of abortions

performed at St. Louis Reproductive Health Services declined by 21%. 69 Study participants’
abortion rate was significantly lower than the rate in the surrounding St. Louis region, and less

than half the national average. 70 Similarly, when access to both contraception and abortion

increased in Iowa, the abortion rates actually declined. 71 Starting in 2006, the state expanded

access to low- or no-cost family planning services through a Medicaid expansion and a privately


66
   Kavanaugh ML and Jerman J, Contraceptive method use in the United States: trends and characteristics between
2008, 2012 and 2014, Contraception, 2017, https://www.guttmacher.org/article/2017/10/contraceptive-method-use-
united-states-trends-and-characteristics-between-2008-2012.
67
   Kavanaugh ML and Jerman J, Contraceptive method use in the United States: trends and characteristics between
2008, 2012 and 2014, Contraception, 2017, https://www.guttmacher.org/article/2017/10/contraceptive-method-use-
united-states-trends-and-characteristics-between-2008-2012.
68
   Bearak JM and Jones RK, Did contraceptive use patterns change after the Affordable Care Act? A descriptive
analysis, Women’s Health Issues, 2017, 27(3):316–321, http://www.whijournal.com/article/S1049-3867(17)30029-
4/fulltext.
69
   Peipert JF et al., Preventing unintended pregnancies by providing no-cost contraception, Contraception, 2012,
120(6):1291–1297.
70
   Peipert JF et al., Preventing unintended pregnancies by providing no-cost contraception, Contraception, 2012,
120(6):1291–1297.
71
   Biggs MA, Did increasing use of highly effective contraception contribute to declining abortions in Iowa?
Contraception, 2015, 91(2):167–173.



                                                                                             NV Exh B 0020
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 22 of 98 PageID 1578



funded initiative serving low-income women. Despite a simultaneous increase in access to

abortion—the number of clinics offering abortions in the state actually doubled during the study

period—the abortion rate dropped by over 20%.

                         Expanding Exemptions Would Harm Women
   37. The 2018 Final Rules or an injunction of the ACA’s contraceptive coverage mandate

would make it more difficult, once again, for those receiving insurance coverage through

companies or schools that use the exemption (i.e., employees, students and dependents) to access

the methods of contraception that are most acceptable and effective for them. That, in turn,

would increase those women’s risk of unintended pregnancy and interfere with their ability to

plan and space wanted pregnancies. These barriers could therefore have considerable negative

health, social and economic impacts for those women and their families.

   38. Allowing employers or schools to exclude all contraceptive methods, services and

counseling from insurance plans—or to cover some contraceptive methods, services and

information but not others—would prevent women from selecting and obtaining the methods of

contraception that will work best for them. For example, Hobby Lobby objected to providing

four specific contraceptive methods, including copper and hormonal IUDs, which are among the

most effective forms of pregnancy prevention and also have among the highest up-front costs.

   39. Allowing employers to restrict access to the full range of contraceptive methods and to
approve coverage only for those they deem acceptable would place inappropriate constraints on

women who depend on insurance to obtain the methods best suited to their needs. Moreover, in

the absence of coverage, the financial cost of obtaining a method, and the fact that some methods

have higher costs than others, would incentivize women to select methods that are inexpensive,

rather than methods that are best suited to their needs and that they are therefore most likely to

use consistently and effectively (see 10–19, above).

   40. Excluding coverage for some or all contraceptive methods, services and counseling could

deny women the ability to obtain contraceptive counseling and services from their desired




                                                                                   NV Exh B 0021
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                         Page 23 of 98 PageID 1579



provider at the same time they receive other primary and preventive care. 72,73 A woman going to

her gynecologist for an annual examination, for example, may have to go to a different provider

to be prescribed (or even discuss) contraception. This disjointed approach increases the time,

effort and expense involved in getting needed contraception and interferes with her ability to

obtain care from the provider of her choice.

     41. Isolating contraceptive coverage in this way also would interfere with the ability of health

care providers to treat women holistically. A woman’s choice of contraception can be affected by

her other medical conditions (e.g., diabetes, HIV, depression/mental health), and certain
medications can significantly reduce the effectiveness of some methods of contraception, so a

woman’s chosen provider should be able to manage all health conditions and needs at the same

time. 74,75

     42. To the extent that expanding the exemptions would burden women’s contraceptive use in

these ways, it would be harmful to women’s health. Contraception allows women to avoid

unintended pregnancies and to time and space wanted pregnancies, which has been demonstrated

to improve women’s health and that of their families. Specifically, pregnancies that occur too

early in a woman’s life or that are spaced too closely are associated with negative maternal

health outcomes and/or adverse birth outcomes, including preterm birth, low birth weight,

stillbirth, and early neonatal death. 76,77,78,79 Contraceptive use can also prevent preexisting health

72
   Leeman L, Medical barriers to effective contraception, Obstetrics and Gynecology Clinics of North America,
2007, 34(1):19–29.
73
   World Health Organization, Selected Practice Recommendations for Contraceptive Use, Third Ed., 2016, WHO:
Geneva, Switzerland, http://apps.who.int/iris/bitstream/10665/252267/1/9789241565400-eng.pdf.
74
   Centers for Disease Control and Prevention, US Medical Eligibility Criteria for Contraceptive Use, 2016,
https://www.cdc.gov/reproductivehealth/contraception/mmwr/mec/summary.html.
75
   Centers for Disease Control and Prevention, U.S. medical eligibility criteria for contraceptive use, 2010,
Morbidity and Mortality Weekly Report, May 28, 2010, Vol. 59, https://www.cdc.gov/mmwr/pdf/rr/rr59e0528.pdf.
76
   Kavanaugh ML and Anderson RM, Contraception and Beyond: The Health Benefits of Services Provided at
Family Planning Centers, New York: Guttmacher Institute, 2013, http://www.guttmacher.org/report/contraception-
and-beyond-health-benefits-services-provided-family-planning-centers.
77
   Wendt A et al., Impact of increasing inter-pregnancy interval on maternal and infant health, Paediatric and
Perinatal Epidemiology, 2012, 26(Suppl. 1):239–258.
78
   Conde-Agudelo A, Rosas-Bermúdez A and Kafury-Goeta AC, Birth spacing and risk of adverse perinatal
outcomes: a meta-analysis, Journal of the American Medical Association, 2006, 295(15):1809–1823.



                                                                                           NV Exh B 0022
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                           Page 24 of 98 PageID 1580



conditions from worsening and new health problems from occurring, because pregnancy can

exacerbate existing health conditions such as diabetes, hypertension and heart disease. 80

Unintended pregnancy also affects women’s mental health; notably, it is a risk factor for

depression in adults. 81,82 For these reasons, the Centers for Disease Control and Prevention

(CDC) included the development of and improved access to methods of family planning among

the 10 great public health achievements of the 20th century. 83

     43. In the 2018 Final Rules, the government implies that there is debate about whether

contraception may have negative health consequences that outweigh its benefits. In the previous

interim final rules, the government implied that putative negative health consequences of

contraception may outweigh its benefits. On the contrary, the government itself provides the

oversight to ensure that the health benefits of contraception outweigh any potential negative

consequences. Notably, the FDA’s approval processes require that drugs and devices, including

contraceptives, be proven safe and effective through rigorous controlled trials. In addition, the

CDC publishes extensive recommendations to help clinicians and patients identify potential

contraindications and decide which specific contraceptive methods are most appropriate for each

patient’s needs and health circumstances. 84,85 Medical experts, such as the American College of
Obstetricians and Gynecologists, concur that contraception is safe and has clear health benefits

that outweigh any potential risks. 86

79
   Gipson JD, Koenig MA and Hindin MJ, The effects of unintended pregnancy on infant, child, and parental health:
a review of the literature, Studies in Family Planning, 2008, 39(1):18–38.
80
   Lawrence HC, Testimony of American Congress of Obstetricians and Gynecologists, submitted to the Committee
on Preventive Services for Women, Institute of Medicine, 2011,
http://www.nationalacademies.org/hmd/~/media/8BA65BAF76894E9EB8C768C01C84380E.ashx.
81
   Herd P et al., The implications of unintended pregnancies for mental health in later life, American Journal of
Public Health, 2016, 106(3):421–429.
82
   U.S. Preventive Services Task Force, Screening for depression in adults: recommendation statement, American
Family Physician, 2016, 94(4):340A–340D, http://www.aafp.org/afp/2016/0815/od1.html.
83
   Centers for Disease Control and Prevention, Achievements in public health, 1900–1999: family planning,
Morbidity and Mortality Weekly Report, 1999, 48(47): 1073–1080.
84
   Centers for Disease Control and Prevention, US Medical Eligibility Criteria for Contraceptive Use, 2016,
https://www.cdc.gov/reproductivehealth/contraception/mmwr/mec/summary.html.
85
   Centers for Disease Control and Prevention, U.S. medical eligibility criteria for contraceptive use, 2010,
Morbidity and Mortality Weekly Report, May 28, 2010, Vol. 59, https://www.cdc.gov/mmwr/pdf/rr/rr59e0528.pdf.
86
   Brief of Amici Curiae, American College of Obstetricians and Gynecologists, Physicians for Reproductive Health,



                                                                                              NV Exh B 0023
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                          Page 25 of 98 PageID 1581



    44. Expanding the exemptions to the contraceptive coverage requirement would also have

negative social and economic consequences for women, families and society. By enabling them

to reliably time and space wanted pregnancies, women’s ability to obtain and effectively use

contraception promotes their continued educational and professional advancement, contributing

to the enhanced economic stability of women and their families. 87 Economic analyses have

found positive associations between women’s ability to obtain and use oral contraceptives and

their education, labor force participation, average earnings and a narrowing of the gender-based

wage gap. 88 Moreover, the primary reasons women give for why they use and value

contraception are social and economic: In a 2011 study, a majority of women reported that

access to contraception had enabled them to take better care of themselves or their families

(63%), support themselves financially (56%), stay in school or complete their education (51%),

or get or keep a job or pursue a career (50%). 89
    45. The government contends that expanding the exemption would not impose any real harm,

suggesting that the women most at risk for unintended pregnancy are not likely to be covered by

employer-based group health plans or by student insurance sponsored by a college or university.

That argument is misleading. Low-income women, women of color and women aged 18–24 are

at disproportionately high risk for unintended pregnancy, 90 and millions of these women rely on

private insurance coverage—particularly following implementation of the ACA. In fact, from

2013 to 2017, the proportion of women overall and of women below the poverty level who were



American Academy of Family Physicians, American Nurses Association, et al., Zubik v. Burwell, 2016,
http://www.scotusblog.com/wp-content/uploads/2016/02/Docfoc.com-Amicus-Brief-Zubik-v.-Burwell.pdf.
87
   Sonfield A et al., The Social and Economic Benefits of Women’s Ability to Determine Whether and When to Have
Children, New York: Guttmacher Institute, 2013, https://www.guttmacher.org/report/social-and-economic-benefits-
womens-ability-determine-whether-and-when-have-children.
88
   Sonfield A et al., The Social and Economic Benefits of Women’s Ability to Determine Whether and When to Have
Children, New York: Guttmacher Institute, 2013, https://www.guttmacher.org/report/social-and-economic-benefits-
womens-ability-determine-whether-and-when-have-children.
89
   Frost JJ and Lindberg LD, Reasons for using contraception: perspectives of U.S. women seeking care at
specialized family planning clinics, 2012, Contraception,
http://www.guttmacher.org/pubs/journals/j.contraception.2012.08.012.pdf.
90
   Finer LB and Zolna MR, Declines in unintended pregnancy in the United States, 2008–2011, New England
Journal of Medicine, 2016, 374(9):843–852.



                                                                                            NV Exh B 0024
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                            Page 26 of 98 PageID 1582



uninsured dropped by more than one-third nationwide, declines driven by substantial increases in

both Medicaid and private insurance coverage. 91 In addition, the ACA specifically expanded

coverage for people aged 26 and younger, allowing them to remain covered as dependents on

their parents’ plans, regardless of whether the young woman is working herself or attending

college or university.

            Medicaid, Title X and State Coverage Requirements Cannot Substitute for the
                             Federal Contraceptive Coverage Guarantee
     46. State and federal programs and laws—such as the Title X national family planning

program, Medicaid, and state contraceptive coverage requirements—cannot replicate or replace

the gains in access made by the contraceptive coverage guarantee. In the interim final rules, the

government claimed that “[i]ndividuals who are unable to obtain contraception coverage through

their employer-sponsored health plans because of the exemptions created in these interim final

rules…have other avenues for obtaining contraception….” 92

     47. Many women who have the benefit of the ACA’s contraceptive coverage mandate are not

eligible for free or subsidized care under Title X. Title X provides no-cost family planning

services to people living at or below 100% of the federal poverty level ($12,060 for a single

person in 2017), 93 and provides services on a sliding fee scale between 100% and 250% of

poverty; women above 250% of poverty must pay the full cost of care. By contrast, the federal

contraceptive coverage guarantee eliminates out-of-pocket costs for contraception regardless of

income.

     48. Funding for Title X has not increased sufficiently for the program even to keep up with

the increasing number of women in need of publicly funded care; 94 therefore, Title X cannot

91
   Guttmacher Institute, Gains in insurance coverage for reproductive-age women at a crossroads, News in Context,
Dec. 4, 2018, https://www.guttmacher.org/article/2018/12/gains-insurance-coverage-reproductive-age-women-
crossroads.
92
   Department of the Treasury, Department of Labor and Department of Health and Human Services, Religious
exemptions and accommodations for coverage of certain preventive services under the Affordable Care Act, Federal
Register, 82(197):47838–47862, https://www.gpo.gov/fdsys/pkg/FR-2017-10-13/pdf/2017-21852.pdf.
93
   Office of the Assistant Secretary for Planning and Evaluation, U.S. federal poverty guidelines used to determine
financial eligibility for certain federal programs, 2017, https://aspe.hhs.gov/poverty-guidelines.
94
   Women in need of publicly funded contraceptive services are defined as those women who a) are younger than 20



                                                                                              NV Exh B 0025
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                              Page 27 of 98 PageID 1583



sustain additional beneficiaries as a result of the 2018 Final Rules or an injunction of the ACA’s

contraceptive coverage mandate. From 2010 to 2014, even as the number of women in need of

publicly funded contraceptive care grew by 5%, representing an additional one million women in

need, 95 Congress cut funding for Title X by 10%. 96 With its current resources, Title X is able to

serve only one-fifth of the nationwide need for publicly funded contraceptive care. 97 Still, the

government has proposed diverting already insufficient Title X funding to help cover the cost of

care for any women affected by the 2018 Final Rules, 98 an action that would inevitably hurt

patients who rely on publicly funded services.

    49. Similarly, many women who would lose private insurance coverage of contraception

under the federal government’s expanded exemption would not be eligible for Medicaid.

Eligibility for Medicaid varies widely from state to state, particularly in states that have not

expanded Medicaid eligibility under the ACA. In almost all of those states, nondisabled,

nonelderly childless adults do not qualify for Medicaid at any income level, and eligibility for

parents is as low as 18% of the federal poverty level in Alabama and Texas. 99 Several of these
states have expanded eligibility specifically for family planning services to people otherwise

ineligible for full-benefit Medicaid; those income eligibility levels also vary considerably. 100,101


or are poor or low-income (i.e., have a family income less than 250% of the federal poverty level) and b) are
sexually active and able to become pregnant but do not want to become pregnant. See Frost JJ, Frohwirth L and
Zolna MR, Contraceptive Needs and Services, 2014 Update, New York: Guttmacher Institute, 2016,
https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-2014_1.pdf.
95
   Frost JJ, Frohwirth L and Zolna MR, Contraceptive Needs and Services, 2014 Update, New York: Guttmacher
Institute, 2016, https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-
2014_1.pdf.
96
   Department of Health and Human Services, Office of Population Affairs, Funding history, 2017,
https://www.hhs.gov/opa/title-x-family-planning/about-title-x-grants/funding-history/index.html.
97
   Frost JJ, Frohwirth L and Zolna MR, Contraceptive Needs and Services, 2014 Update, New York: Guttmacher
Institute, 2016, https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-
2014_1.pdf.
98
   Compliance with Statutory Program Integrity Requirements, 84 Fed. Reg. 7714, March 4, 2019.
99
   Kaiser Family Foundation, Medicaid income eligibility limits for adults as a percent of the federal poverty level,
2018, State Health Facts, https://www.kff.org/health-reform/state-indicator/medicaid-income-eligibility-limits-for-
adults-as-a-percent-of-the-federal-poverty-level.
100
    Guttmacher Institute, Medicaid family planning eligibility expansions, State Laws and Policies (as of December
2018), 2018, https://www.guttmacher.org/state-policy/explore/medicaid-family-planning-eligibility-expansions.
101
    Kaiser Family Foundation, Status of state action on the Medicaid expansion decision, 2018, State Health
Facts, https://www.kff.org/health-reform/state-indicator/state-activity-around-expanding-medicaid-under-the-



                                                                                                 NV Exh B 0026
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                           Page 28 of 98 PageID 1584



Again, by contrast, the federal contraceptive coverage guarantee applies regardless of income.

And because the U.S. Supreme Court has ruled that states cannot be compelled by the federal

government to expand Medicaid eligibility, the federal government cannot rely on Medicaid to

fill in gaps in coverage that would result from expanding the exemption.

    50. The federal government’s assertion in the 2018 Final Rules that Title X and Medicaid can

replace or replicate the ACA’s contraceptive coverage guarantee is additionally problematic

given that the government itself is at the same time moving to undermine Title X and Medicaid.

For example, the government’s recent budget proposals have sought to exclude Planned

Parenthood Federation of America and its affiliates from Title X, Medicaid and other federal

programs, 102 and have called for massive cuts to Medicaid. 103 The Department of Health and
Human Services has promulgated sweeping changes to Title X regulations that would undermine

quality of care and access to providers, 104 and it has encouraged states to revamp their Medicaid

programs in ways that would restrict program eligibility (e.g., by imposing work requirements)

and thereby interfere with coverage and care. 105 The administration has strongly backed similar

congressional proposals for cutting and limiting access to Title X and Medicaid.

    51. In addition, the promulgated changes to Title X would make it even more unsuitable as a

substitute for contraceptive coverage under the ACA. The recent rule for Title X removes the

requirement that the contraceptive methods offered by a Title X provider be “medically

approved.” 106 At the same time, the rule encourages participation in Title X by entities that

prioritize their own religious or moral beliefs over patient-centered care and by entities that offer



affordable-care-act/.
102
    Hasstedt K, Beyond the rhetoric: the real-world impact of attacks on Planned Parenthood and Title X,
Guttmacher Policy Review, 2017, 20:86–91, https://www.guttmacher.org/gpr/2017/08/beyond-rhetoric-real-world-
impact-attacks-planned-parenthood-and-title-x.
103
    Luhby T, Not even the White House knows how much it's cutting Medicaid, CNN, May 24, 2017,
http://money.cnn.com/2017/05/24/news/economy/medicaid-budget-trump/index.html.
104
    Compliance with Statutory Program Integrity Requirements, 84 Fed. Reg. 7714, March 4, 2019.
105
    Sonfield A, Efforts to transform the nature of Medicaid could undermine access to reproductive health care,
Guttmacher Policy Review, 2017, 20:97–102, https://www.guttmacher.org/gpr/2017/10/efforts-transform-nature-
medicaid-could-undermine-access-reproductive-health-care.
106
    Compliance with Statutory Program Integrity Requirements, 84 Fed. Reg. 7714, March 4, 2019.



                                                                                             NV Exh B 0027
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                          Page 29 of 98 PageID 1585



only a single contraceptive method (such as fertility awareness–based methods). These changes,

if implemented, would shift the Title X program away from its mission of offering access to a

broad range of family planning methods. 107

      52. Policymakers in many states have also restricted publicly funded family planning

programs and providers, further undermining the ability of these programs to serve those affected

by the expanded exemption. 108

      53. Neither can state-specific contraceptive coverage laws replicate or replace the increase in

access to contraception provided by the ACA’s contraceptive coverage guarantee. Twenty-one

have no such laws at all. 109 Of the 29 states and the District of Columbia that do have
contraceptive coverage requirements, only 10 currently bar copayments and deductibles for

contraception (and another four states have new requirements not yet in effect). Additionally, the

federal requirement limits the use of formularies and other administrative restrictions on

women’s use of contraceptive services and supplies, by making it clear that health plans may

seek to influence a patient’s choice only within a specific contraceptive method category (e.g., to

favor one hormonal IUD over another) and not across methods (e.g., to favor the pill over the

ring). 110 Few of the state laws include similar protections. Similarly, most of the state

requirements do not specifically require coverage of all the distinct methods that the federal

requirement encompasses. For example, only eight states currently require coverage of female

sterilization, and few state laws make explicit distinctions between methods that some insurance

plans have attempted to treat as interchangeable (such as hormonal versus copper IUDs, or the

contraceptive patch versus the contraceptive ring). 111 Finally, state laws cannot regulate self-

107
    Hasstedt K, What the Trump Administration’s Final Regulatory Changes Mean for Title X, Health Affairs Blog,
March 4, 2019, https://www.guttmacher.org/article/2019/03/what-trump-administrations-final-regulatory-changes-
mean-title-x.
108
    Gold RB and Hasstedt K, Publicly funded family planning under unprecedented attack, American Journal of
Public Health, 2017, 107(12):1895–1897, http://ajph.aphapublications.org/doi/pdf/10.2105/AJPH.2017.304124.
109
    Guttmacher Institute, Insurance coverage of contraceptives, State Laws and Policies (as of December 2018),
2018, http://www.guttmacher.org/state-policy/explore/insurance-coverage-contraceptives.
110
    Department of Labor, FAQs about Affordable Care Act implementation (part XXVI), May 11, 2015,
https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-activities/resource-center/faqs/aca-part-xxvi.pdf.
111
    Guttmacher Institute, Insurance coverage of contraceptives, State Laws and Policies (as of December 2018),



                                                                                            NV Exh B 0028
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                              Page 30 of 98 PageID 1586



insured employers at all, and those employers account for 60% of all workers with employer-

sponsored health coverage. 112

                                            State-Specific Impacts

    54. An injunction of the ACA’s contraceptive coverage mandate would have public health

and fiscal consequences in states across the country. If unable to access contraception coverage

through their employer or university, some lower-income women who meet the strict income

requirements of public programs would rely on publicly funded services to access this beneficial

service. Many women who lose or lack contraceptive coverage because their employer or

university objects, however, would not meet the strict income and eligibility requirements of

public programs, and if as a result they are not using their preferred or the most effective

methods for them, or if cost forces them to forgo contraceptive use periodically or altogether,

they would be at increased risk of unintended pregnancy. The costs of the resulting unintended

pregnancies often then fall to the states because the federal government cannot or will not

withstand these costs. An example of this impact is included below for Nevada. Data for all 50

states and the District of Columbia are included in a table as Exhibit B.



                                                      Nevada

    55. In Nevada, some women impacted by an injunction would not qualify for Medicaid or

Title X because they would not meet the income eligibility requirements for coverage or

subsidized care under these programs.

    56. For example, in Nevada, childless adults and parents are eligible for full-benefit Medicaid

only if they have incomes at or below 138% of the federal poverty level. 113 (Nevada has not



2018, http://www.guttmacher.org/state-policy/explore/insurance-coverage-contraceptives.
112
    Claxton G et al., Employer Health Benefits: 2017 Annual Survey, Menlo Park, CA: Kaiser Family Foundation;
and Chicago: Health Research & Educational Trust, 2017, https://www.kff.org/report-section/ehbs-2017-section-10-
plan-funding/.
113
    Kaiser Family Foundation, Medicaid income eligibility limits for adults as a percent of the federal poverty level,
2018, State Health Facts, https://www.kff.org/health-reform/state-indicator/medicaid-income-eligibility-limits-for-
adults-as-a-percent-of-the-federal-poverty-level.



                                                                                                 NV Exh B 0029
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                            Page 31 of 98 PageID 1587



expanded Medicaid eligibility specifically for family planning services. 114) This means that

affected women who lose coverage as a result of an injunction may not be eligible.

      57. As a result, some women would be at increased risk of unintended pregnancy, either

because they are not able to afford the methods that work best for them, or because cost would

force them to forgo contraception use entirely.

      58. Other women would be eligible for and rely on publicly funded family planning services

through programs such as Medicaid and Title X. Those women could be denied the ability to

obtain contraceptive counseling and services from their desired provider at the same time they

receive other primary and preventive care, increasing the time, effort and expense involved in

getting needed contraception. In addition, isolating contraceptive coverage in this way would

interfere with the ability of health care providers to manage all of a woman’s health conditions

and needs at the same time.

      59. The increase in the number of women relying on publicly funded services would increase

the strain on the state’s family planning programs and providers, making it more difficult for

them to meet the existing need for publicly funded care. In 2014, 194,000 women were in need

of publicly funded family planning in Nevada, and the state’s family planning network was able

to only meet 10% of this need. 115
      60. Another indicator of the existing unmet need for contraception in Nevada is that

substantial numbers of state residents experience unintended pregnancy each year. In 2010,

29,000 unintended pregnancies occurred among Nevada residents, a rate of 54 per 1,000 women

aged 15–44. 116



114
    Guttmacher Institute, Medicaid family planning eligibility expansions, State Laws and Policies (as of December
2018), 2018, https://www.guttmacher.org/state-policy/explore/medicaid-family-planning-eligibility-expansions.
115
    Frost JJ, Frohwirth L and Zolna MR, Contraceptive Needs and Services, 2014 Update, New York: Guttmacher
Institute, 2016, https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-
2014_1.pdf.
116
    Kost K, Unintended Pregnancy Rates at the State Level: Estimates for 2010 and Trends Since 2002, New York:
Guttmacher Institute, 2015, https://www.guttmacher.org/report/unintended-pregnancy-rates-state-level-estimates-
2010-and-trends-2002.



                                                                                               NV Exh B 0030
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                          Page 32 of 98 PageID 1588



      61. Of those unintended pregnancies that ended in birth, 60% were paid for by Medicaid and

other public insurance programs. 117 Unintended pregnancies cost the state approximately $37

million and the federal government approximately $66 million in 2010. An injunction is likely to

increase the number of unintended pregnancies experienced by state residents, and thus to

increase state and federal expenditures.

      62. In conclusion, adding to the number of women at risk of unintended pregnancy by

expanding the exemption is not in the public health or economic interest of Nevada or its

residents.



                                                     ***



         Ample evidence demonstrates that an injunction of the ACA’s contraceptive coverage

mandate would interfere with women’s ability to identify and consistently use the contraceptive

methods that would work best for them, thus putting them at heightened risk of unintended

pregnancy and the health, social and economic harms that would result.

        I declare under penalty of perjury that the foregoing is true and correct and of my own

personal knowledge.



Executed on the 22nd day of May, 2019, in New York, New York.



                                                      ___________________________________
                                                      Kathryn Kost
                                                      Acting Vice President for Domestic Research
                                                      The Guttmacher Institute




117
   Sonfield A and Kost K, Public Costs from Unintended Pregnancies and the Role of Public Insurance Programs
in Paying for Pregnancy-Related Care: National and State Estimates for 2010, New York: Guttmacher Institute,
2015, https://www.guttmacher.org/report/public-costs-unintended-pregnancies-and-role-public-insurance-programs-
paying-pregnancy.



                                                                                            NV Exh B 0031
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 33 of 98 PageID 1589




                    EXHIBIT A



                                                               NV Exh B 0032
      Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 34 of 98 PageID 1590
                                          Kathryn Kost
                 The Guttm acher Institute · 125 Maid en Lane · N ew York, N Y 10038
                              (212) 248-1111 · kkost@guttm acher.org

ED UCATION

  Princeton University, Princeton, N ew Jersey
     Ph.D., Sociology, 1990; Area of Specialization: Dem ography

  Reed College, Portland , Oregon
     Bachelor of Arts, Sociology, 1982


PROFESSION AL EXPERIEN CE

  The Guttmacher Institute, N ew York, N ew York
     Acting Vice Presid ent of Dom estic Research 2018 - present
     Director of Dom estic Research 2016-2018
     Principal Research Scientist 2015-2016
     Senior Research Associate, 1989-1998, 2009-2014
     Consultant, 2004-2009

  Gynuity Health Projects, N ew York, N ew York
    Consultant, 2009

  Princeton University, Princeton, N ew Jersey
     Teaching Assistant, Introd uctory Statistics (grad uate-level), Wood row Wilson School, 1986-1987

  East-West Population Institute, Population Research D ivision, University of Haw aii, Honolulu, HI
     Research Intern, 1987

  Princeton University, Princeton, N ew Jersey
     Teaching Assistant, Introd uctory Statistics (grad uate-level), Wood row Wilson School, 1986

  N ational Academy of Sciences, Institute of Medicine, Washington, D .C.
      Research Intern, Com m ittee on Contraceptive Developm ent, 1986

  Princeton University, Princeton, N ew Jersey
     N ICH D Trainee, Office of Population Research, 1985-1989

  American Health Foundation, N ew York, N ew York
    H ead of Data Managem ent, Division of Child H ealth , 1983-1985



AREAS OF SPECIALIZATION

  Sexual and Reprod uctive H ealth; Unintended Pregnancy and Child bearing ; Pregnancy Surveillance and
         Statistics; Contraceptive Effectiveness.




                                                                                     NV Exh B 0033
        Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                     Page 35 of 98 PageID 1591
Kathryn Kost                                                                           12/4/2018

PEER-REVIEWED PUBLICATION S

Sund aram A, Vaughan B, Kost K, Bankole A, Finer LB, Singh S. (2017). Contraceptive failure in the United
States: Estim ates from the 2006-2010 N ational Survey of Fam ily Grow th. Perspectives on Sexual and Reproductive
Health, 49(1):7-16.
Kavanaugh MK, Kost K, Frohw irth L, Mad d ow -Zim et I. (2016). Parent’s experience of unintend ed
child bearing: A qualitative stud y of factors that m itigate or exacerbate effects. Social Science and M edicine,
174:133-141.
Lind berg LD, Kost K, Mad d ow -Zim et I. (2016). The role of m en’s child bearing intentions in father
involvem ent. Journal of M arriage and Family, 79(1):44-59.
Mad d ow -Zim et I, Lind berg LD, Kost K, and Lincoln A. (2016). Are pregnancy intentions associated w ith
transitions into and out of m arriage? Perspectives on Sexual and Reproductive Health, 48(1):35---43, DOI:
10.1363/ 48e8116
Vlassoff M, Diallo A, Philbin J, Kost K, Bankole A. (2016) Cost-effectiveness of tw o interventions for the
prevention of postpartu m hem orrhage in Senegal. International Journal of Gynecology & Obstetrics online,
DOI:10.1016/ j.ijgo.2015.10.015
Lind berg LD, Mad d ow -Zim et I, Kost K, Lincoln A. (2015). Pregnancy intentions and m aternal and child health:
An analysis of longitud inal d ata in Oklahom a. M aternal and Child Health Journal, 19(5):1087-96.
Kost K and Lind berg LD. (2014). Pregnancy Intentions, Maternal Behaviors and Infant H ealth: Investigating
Relationships w ith N ew Measures and Propensity Score Analysis. Demography, 52(1):83-111.
Lind berg LD and Kost K. (2014) Exploring U.S. men’s birth intentions, M aternal and Child Health Journal, 18(3):
625-633.
Kost K, Finer LB, Singh S, (2012) Variation in State Unintend ed Pregnancy Rates in the United States,
Perspectives in Sexual and Reprod uctive H ealth, 44(1):57-64.
Kavanaugh MK, Jerm an J, H ubacher D, Kost K and Finer LB. (2011). Characteristics of w om en in the United
States w ho use long-acting reversible contraceptive m ethod s, Obstetrics & Gynecology, 117(6):1349-1357.
Finer LB and Kost K. (2011). Unintend ed pregnancy rates at the state level, Perspectives on Sexual and
Reproductive Health, 43(2):78---87.
Sonfield A, Gold RB, Kost K and Finer LB. (2011). The public costs of births from unintend ed pregnancies:
national and state-level estim ates, Perspectives on Sexual and Reproductive Health, 43(2):94---102.
Jones RK, Kost K, Singh S, H enshaw SK and Finer LB. (2009). Trend s in abortion in the United States, Clin ical
Obstetrics and Gynecology, 52 (2):119---129.
Vaughan, B, Trussell J, Kost K, Singh S and Jones R, Discontinuation and resum ption of contraceptive use:
results from the 2002 N ational Survey of Fam ily Grow th, Contraception, 2008, 78(4): 271-283. PMCID:
PMC2800035
Santelli J, Lind berg L, Finer LB, Rickert V, Bensyl D, Posner S, Makleff S, Kost K and Singh, S. Com parability of
contraceptive prevalence estim ates for w om en from the 2002 Behavioral Risk Factor Surveillance System ,
Public Health Reports, 2008, 123(2):147---154.
Kost K, Singh S, Vaughan B, Trussell J and Bankole A, Estim ates of Contraceptive Failure from the 2002
N ational Survey of Fam ily Grow th, Contraception, 2008, 77(1):10-21. PMCID: PMC2811396
Jones RK and Kost K, Und erreporting of ind uced and spontaneous abortion in the United States: an analysis of
the 2002 N ational Survey of Fam ily Grow th, Studies in Family Planning, 2007, 38(3):187-197.


                                                                                                                     2
                                                                                              NV Exh B 0034
        Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 36 of 98 PageID 1592
Kathryn Kost                                                                          12/4/2018

Kost K, Land ry DJ, and Darroch JE, The effects of pregnancy planning status on birth outcom es and infant
care, Family Planning Perspectives, 1998, 30(5):223-30.
Kost K, Land ry DJ, and Darroch JE, Pred icting maternal behaviors d uring pregnancy: d oes intention status
m atter? Family Planning Perspectives, 1998, 30(2):79-88.
H enshaw SK and Kost K, Abortion patients in 1994-1995: characteristics and contraceptive use, Family Planning
Perspectives, 1996, 28(4):140-7, 158.
Kost K and Forrest JD, Intention status of U.S. births in 1988: d ifferences by m others' socioeconom ic and
d em ographic characteristics, Family Planning Perspectives, 1995, 27(1):11-7.
Kost K, The d ynam ics of contraceptive use in Peru, Studies in Family Planning, 1993, 24(2):109-19.
Kost K and Forrest JD, Am erican w om en's sexual behavior and exposure to risk of sexually transmitted
d iseases. Family Planning Perspectives, 1992, 24(6):244-54.
H enshaw SK and Kost K, Parental involvem ent in m inors' abortion d ecisions, Family Planning Perspectives,
1992, 24(5):196-207, 213.
Kost K and Am in S. Reprod uctive and socioeconom ic d eterm inants of child survival: confound ed , interactive,
and age-d epend ent effects, Social Biology, 1992, 39(1-2):139-50.
Kost K, Using the DH S calend ar history of events to stud y the d ynam ics of contraceptive use. In: Dem ographic
and H ealth Surveys World Conference, August 5-7, 1991, Washington, D.C.: proceed ings. Volum e 2. 1991.
pp:837-856, Institute for Resource Developm ent/ Macro International, Dem ographic and H ealth Surveys
[DH S]: Colum bia, Maryland .
Trussell J, H atcher RA, Cates W, Stew art FH , and Kost K, A guid e to interpreting contraceptive efficacy
stud ies, Obstetrics and Gynecology, 1990, 76(3):558-67.
H arlap S, Kost K, and Forrest JD, Preventing pregnancy, Protecting health: a new look at birth control choices
in the United States. ISBN 0-939253-21-6. 1991. 129 pp. Alan Guttm acher Institute: N ew York, N ew York
Kost K, Forrest JD, and H arlap S, Com paring the health risks and benefits of contraceptive choices, Family
Planning Perspectives, 1991, 23(2):54-61.
Kost K, Contraceptive d iscontinuation in Peru: patterns and d em ographic im plications. Pub. Ord er N o.
DA9026411. 1990. 227 pp. University Microfilms International: Ann Arbor, Michigan.
Zablan Z, Choe MK, Palm ore JA, Ahm ed T, Alcantara A, and Kost K, Contraceptive m ethod choice in the
Philippines, 1973-83. In: Dynam ics of Contraceptive Use, ed ited by Am y O. Tsui and M. A. H erbertson. Journ al
of Biosocial Science, Supplem ent, N o. 11, 1989. 61-74 pp. Parkes Found ation: Cam brid ge, England .
Trussell J, H atcher RA., Cates W, Stew art FH , and Kost K, Contraceptive failure in the United States: an
upd ate, Studies in Family Planning, 1990, 21(1):51-54.
Trussell J, and Kost K, Contraceptive failure in the United States: a critical review of the literature, Studies in
Family Planning, 1987, 18(5):237-283.
Walter H J, H ofman A, Barrett LT, Connelly PA, Kost K, Walk EH , and Rebecca Patterson, "Prim ary Prevention
of Card iovascular Disease Am ong Child ren: Three-Year Results of a Random ized Intervention Trial," in B.
H etzel and G. S. Berenson, ed s., Cardiovascular Risk Factors in Childhood: Epidemiology and Prevention, N ew York,
N Y: Elsevier Science Publishers B.V. (Biom edical Division), 1987.
Walter H J, H ofman A, Barrett LT, Connelly PA, and Kost K, Coronary H eart Disease Prevention in Childhood :
One-Year Results of a Rand om ized Intervention Stud y, A merican Journal of Preventive M edicine, 1986, 2(4):239-
245.



                                                                                                                      3
                                                                                            NV Exh B 0035
        Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 37 of 98 PageID 1593
Kathryn Kost                                                                      12/4/2018

GUTTMACHER PAPERS

Kost K, Mad d ow -Zim et I, Arpaia A., Pregnancies, Births and Abortions Am ong Ad olescents and Young
Wom en in the United States, 2013: N ational and State Trend s by Age, Race and Ethnicity, N ew York:
Guttm acher Institute, 2017.
Kost K and Mad d ow -Zim et I, U.S. Teenage Pregnancies, Births and Abortions, 2011: N ational Trend s by Age,
Race and Ethnicity, N ew York: Guttm acher Institute, 2016.
Kost K and Mad d ow -Zim et I, U.S. Teenage Pregnancies, Births and Abortions, 2011: State Trend s by Age, Race
and Ethnicity, N ew York: Guttm acher Institute, 2016.
Kost K, Unintended Pregnancy Rates at the State Level: Estimates for 2010 and Trend s Since 2002, N ew York:
Guttm acher Institute, 2015.
Kost K and H enshaw S, U.S. Teenage Pregnancies, Births and Abortions, 2010: N ational and State Trend s by
Age, Race and Ethnicity, N ew York: Guttm acher Institute, 2014.
Sonfield A and Kost K, Public Costs from Unintend ed Pregnancies and the Role of Public Insurance Program s
in Paying for Pregnancy and Infant Care: Estim ates for 2008, N ew York: Guttm acher Institute, 2013.
Kost K, Unintended Pregnancy Rates at the State Level: Estimates for 2002, 2004, 2006 and 2008, N ew York:
Guttm acher Institute, 2013.
Kost K and H enshaw S, U.S. Teenage Pregnancies, Births and Abortions, 2008: State Trend s by Age, Race and
Ethnicity, N ew York: Guttm acher Institute, 2013.
Kost K and H enshaw S, U.S. Teenage Pregnancies, Births and Abortions, 2008: N ational Trend s by Age, Race
and Ethnicity, N ew York: Guttm acher Institute, 2012.
Kost K, H enshaw S and Carlin L, U.S. Teenage Pregnancies, Births and Abortions: N ational and State Trend s
and Trend s by Race and Ethnicity, N ew York: Guttm acher Institute, 2010.
H enshaw SK and Kost K, Trend s in the Characteristics of Wom en Obtaining Abortions, 1974 to 2004, N ew
York: Guttm acher Institute, 2008.


OTHER PUBLICATON S
Curtin SC, Abm a JC, Kost K. Pregnancy rates for U .S. w om en continue to d rop: an upd ate. N CH S H ealth E-
stat, N ovem ber 2015. Available at: http:/ / w w w .cd c.gov/ nchs/ d ata/ hestat/ pregnancy/ rates_1990_2010.


HON ORS, AWARD S AN D FELLOWSHIPS

East-West Center, University of H aw aii, Sum m er Fellow ship (1987)


PROFESSION AL ASSOCIATION S

Population Association of Am erica
Am erican Sociological Association
PRAMS Steering Com mittee, N ew York City Departm ent of H ealth & Mental H ygiene
Ed itorial Board , International Journal of Population Research
Full Fellow , Society of Fam ily Planning
Mem ber, Social Science and Population Stud ies Review Panel, N ational Institutes of H ealth (2012-2015)



                                                                                                                  4
                                                                                         NV Exh B 0036
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 38 of 98 PageID 1594




                    EXHIBIT B



                                                               NV Exh B 0037
      Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                   Page 39 of 98 PageID 1595

Exhibit B: State‐Specific Data on Impact
                                                          Women needing
                                                         publicly supported
                        Medicaid eligibility, as % of       contraceptive                                                 Public costs for
                          federal poverty level         services and supplies,    Unintended                % of     unintended pregnancies,
                          (as of January 2018)                   2014          pregnancies, 2010        unplanned              2010
                                                                    % of need                           births paid
                                                                    met by                  Rate per   for by public
                                             Family                 publicly                1,000       insurance
                      Childless              planning               supported               women       programs, State             Federal
                      adults     Parents     specific   Number      providers    Number     15–44          2010      (in millions) (in millions)
Alabama                        —     18%        146%      332,750          31%     46,000         48          61.6%          $72.6       $250.5
Alaska                     138%     139%            —      41,200          63%      8,000         54          64.3%            42.9         70.8
Arizona                    138%     138%            —     465,450          15%     61,000         49          64.6%          161.5         509.4
Arkansas                   138%     138%            —     204,850          29%     29,000         50          72.3%            61.9        266.8
California                 138%     138%        200%    2,643,580          50%    393,000         50          64.3%          689.3      1,062.1
Colorado                   138%     138%            —     326,490          38%     43,000         42          63.8%            91.1        146.1
Connecticut                138%     138%        263%      183,070          38%     32,000         46          60.8%            80.1        128.4
Delaware                   138%     138%            —      50,100          30%     11,000         62          71.3%            36.0         58.2
District of Columbia       215%     221%            —      44,910          84%     10,000         58          84.6%            13.3         50.9
Florida                        —     33%            —   1,216,520          17%    207,000         58          70.6%          427.1         892.8
Georgia                        —     36%        200%      695,120          16%    119,000         57          80.5%          229.7         687.7
Hawaii                     138%     138%            —      73,090          25%     16,000         61          49.9%            37.8         76.7
Idaho                          —     26%            —     113,020          21%     12,000         38          60.4%            18.5         70.2
Illinois                   138%     138%            —     772,510          20%    128,000         49          78.3%          352.2         571.5
Indiana                    139%     139%        146%      446,230          19%     55,000         43          64.6%            91.4        284.6
Iowa                       138%     138%            —     190,270          29%     23,000         39          61.5%            48.3        127.6
Kansas                         —     38%            —     188,100          17%     24,000         43          47.2%            50.4        115.7
Kentucky                   138%     138%            —     284,530          24%     34,000         40          66.8%            75.0        302.8
Louisiana                  138%     138%        138%      321,480          15%     53,000         57          78.7%          120.6         530.4
Maine                          —    105%        214%       78,880          33%      9,000         37          74.7%            14.6         43.6
Maryland                   138%     138%        200%      298,190          25%     71,000         60          58.2%          180.9         285.4
Massachusetts              138%     138%            —     373,060          25%     54,000         40          56.4%          138.3         219.6
Michigan                   138%     138%            —     635,660          16%     93,000         49          71.9%          177.0         485.1
Minnesota                  138%     138%        200%      294,680          29%     38,000         36          66.7%          128.7         203.9
Mississippi                    —     27%        199%      213,930          28%     35,000         57          81.9%            40.4        226.7
Missouri                       —     22%            —     391,510          18%     54,000         46          72.2%          132.6         385.9
Montana                    138%     138%        216%       66,380          41%      7,000         42          47.8%             9.1         31.7
Nebraska                       —     63%            —     118,170          20%     14,000         41          63.1%            41.7         91.9
Nevada                     138%     138%            —     194,430          10%     29,000         54          60.0%            37.1         65.8
New Hampshire              138%     138%        201%       65,530          29%      8,000         32          52.7%            10.3         16.5
New Jersey                 138%     138%            —     455,260          22%     97,000         56          52.4%          186.1         291.0
New Mexico                 138%     138%        255%      151,950          28%     22,000         56          77.1%            47.9        191.2
New York                   138%     138%        223%    1,227,170          32%    246,000         61          70.2%          601.1         937.7
North Carolina                 —     43%        200%      667,910          20%     95,000         49          74.8%          214.7         643.5
North Dakota               138%     138%            —      44,180          26%      5,000         41          36.8%             7.7         17.9
Ohio                       138%     138%            —     730,110          14%    109,000         49          68.7%          218.8         605.8
Oklahoma                       —     45%        138%      256,880          31%     36,000         49          80.7%            77.0        254.0
Oregon                     138%     138%        250%      270,990          39%     31,000         41          69.9%            47.2        122.7
Pennsylvania               138%     138%        220%      745,550          29%    115,000         47          53.5%          248.2         478.6
Rhode Island               138%     138%            —      71,320          35%      9,000         43          70.1%            27.5         48.7
South Carolina                 —     67%        199%      323,140          31%     42,000         46          78.6%            84.0        327.3
South Dakota                   —     50%            —      52,610          27%      7,000         46          46.2%            14.4         35.0
Tennessee                      —     98%            —     434,440          26%     62,000         49          73.7%          130.7         400.0
Texas                          —     18%            —   1,795,160          10%    298,000         56          73.7%          842.6      2,056.8
Utah                           —     60%            —     207,350          22%     24,000         40          53.3%            30.4        127.6
Vermont                    138%     138%            —      35,810          59%      4,000         36          73.5%             9.6         21.8
Virginia                       —     38%        205%      447,970          17%     84,000         51          45.4%          194.6         312.0
Washington                 138%     138%        260%      429,300          26%     61,000         45          63.1%          177.1         290.7
West Virginia              138%     138%            —     110,910          47%     15,000         43          76.0%            24.9        120.5
Wisconsin                  100%     100%        306%      353,620          22%     42,000         38          62.0%            92.1        221.4
Wyoming                        —     55%            —      34,630          30%      4,000         42          67.4%            21.3         34.1
Sources: References 113–117.



Guttmacher Institute                                                                                                            NV Exh BDecember
                                                                                                                                         0038 2018
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 40 of 98 PageID 1596




                                                               NV Exh C 0039
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 41 of 98 PageID 1597




                                                               NV Exh C 0040
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 42 of 98 PageID 1598




                                                               NV Exh C 0041
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 43 of 98 PageID 1599




                                                               NV Exh C 0042
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 44 of 98 PageID 1600




                                                               NV Exh C 0043
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 45 of 98 PageID 1601




                                                               NV Exh C 0044
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 46 of 98 PageID 1602




                                                               NV Exh C 0045
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 47 of 98 PageID 1603




                                                               NV Exh C 0046
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 48 of 98 PageID 1604




                                                               NV Exh C 0047
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 49 of 98 PageID 1605




                                                               NV Exh C 0048
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19   Page 50 of 98 PageID 1606




                                                               NV Exh C 0049
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 51 of 98 PageID 1607


                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


  RICHARD W. DEOTTE, et al. ,                       CIVIL ACTION NO. 4:18-cv-00825-O
         Plaintiffs,

  v.

 ALEX M. AZAR, et al.,

          Defendants.


                                    [PROPOSED] ORDER


       Before the Court is Proposed Intervenor State of Nevada’s (“Nevada”) Motion to Intervene

(ECF No. ___), filed May 24, 2019. In its Motion, Nevada seeks to intervene as a Defendant in

this case under Federal Rule of Civil Procedure 24(a)(2), arguing that it meets the standard for

intervention as a matter of right, and alternatively, it moves for permissive intervention under

Federal Rule of Civil Procedure 24(b). More specifically, Nevada states that it seeks intervention

to oppose Plaintiffs’ Motion for Preliminary Injunction (ECF No. 21), which was ordered by this

Court to be treated as a motion for summary judgment and permanent injunction on April 11, 2019.

(ECF No. 37 at 1). As part of its Motion to Intervene, Nevada has submitted a proposed opposition

to Plaintiffs’ motion for summary judgment. (ECF No. ___ at ___).

       The Federal Defendants take no position on Nevada’s Motion, but Plaintiffs oppose it.

(ECF No. ___) at Certificate of Conference.

       Having considered the Motion, briefing, and applicable law, the Court finds that the State

of Nevada’s Motion to Intervene (ECF No. ___) should be and is hereby GRANTED for the

reasons stated below.




                                                1



                                                                                NV Exh D 0050
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 52 of 98 PageID 1608



I.     BACKGROUND

       Plaintiffs have successfully been certified as a class action, seeking nationwide class relief

for themselves and those similarly situated who contend that the Affordable Care Act’s

requirements pertaining to contraceptive coverage constitute violations of the Religious Freedom

Restoration Act, 42 U.S.C. § 2000bb-1 (“RFRA”). (ECF No. 33 at 3). Current Defendants have

not yet answered or responded to Plaintiffs’ original or amended complaint.              Under these

circumstances, Nevada has moved to intervene as defendants to offer what it terms a merits-based

defense to what this Court has termed the “Contraceptive Mandate.” 1

II.    LEGAL STANDARD

       A.      Intervention as a Matter of Right (Rule 24(a))

       Rule 24 of the Federal Rules of Civil Procedure governs intervention. Rule 24(a) provides

that’[o]n timely motion, the court must permit anyone to intervene who … claims an interest

relating to the property or transaction that is the subject of the action, and is so situated that

disposing of the action may as a practical matter impair or impede the movant’s ability to protect

its interest, unless existing parties adequately represent that interest.” Fed. R. Civ. P. 24(a)

(emphasis added). Accordingly, to intervene as a matter of right under Rule 24(a)(2), the Fifth

Circuit requires that (1) the motion is timely; (2) the applicant must have an interest relating to the

property or transaction which is the subject of the action; (3) the outcome of the action may, as a

practical matter, impair or impede his ability to protect that interest; and (4) the existing parties

cannot adequately represent that interest. Wal-Mart Stores, Inc. v. Texas Alcoholic Beverage

Comm’n, 834 F.3d 562, 565 (5th Cir. 2016). This test applies whether a party seeks to intervene

as a plaintiff or a defendant. See Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015).




       1
        Codified at 42 U.S.C. § 300gg-13(a)(4), 45 C.F.R. § 147.130(a)(1)(iv), 29 C.F.R. §
2590.715 – 2713(a)(1)(iv), and 26 C.F.R. § 54.9815-2713(a)(1)(iv).

                                                  2

                                                                                    NV Exh D 0051
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                     Page 53 of 98 PageID 1609



        Rule 24 is “liberally construed” in favor of intervention. Blumfield v. Dodd, 749 F.3d 339,

341 (5th Cir. 2014). “[D]oubts [are] resolved in favor of the proposed intervenor.” In re Lease

Oil Antitrust Litig., 570 F.3d 244, 248 (5th Cir. 2009). Intervention as a matter of right “must be

measured by a practical rather than a technical yardstick,” and the inquiry is a “flexible one”

focused on the “particular facts and circumstances” of each case. Edwards v. City of Houston, 78

F.3d 983, 999 (5th Cir. 1996) (en banc). “Federal courts should allow intervention where no one

would be hurt and the greater justice could be obtained.” Texas, 805 F.3d at 657; Sierra Club v.

Espy, 18 F.3d 1202, 1206 (5th Cir. 1994).

        B.      Permissive Intervention (Rule 24(b))

        Rule 24(b)(2), which allows a state such as Nevada to intervene on a timely motion where

a claim is premised on “a statute or executive order administered by [Nevada].” Permissive

intervention is discretionary by definition, but is appropriate when (1) timely application is made

by the intervenor, (2) the intervenor’s claim or defense and the main action have a question of law

or fact in common, and (3) intervention will not unduly delay or prejudice the adjudication of the

rights of the original parties. ,

III.    ANALYSIS

        Nevada argues that it has met its burden to intervene as a matter of right under Rule 24(a),

and, in the alternative, that the Court should permit it to intervene under Rule 24(b).

        A.      Intervention as a Matter of Right (Rule 24(a))

        There is no genuine dispute that Nevada has expressed an interest in the property or

transaction that is the subject of the action and that it has expressed a practical risk that disposition

of the action would impair or impede Nevada’s ability to protect this interest. The timeliness of

the motion and the adequacy of representation by the Federal Defendants of Nevada in this case

are addressed below.




                                                   3

                                                                                      NV Exh D 0052
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 54 of 98 PageID 1610



               1.      The Motion is Timely

       The Fifth Circuit considers four factors when evaluating the timeliness of a motion to

intervene:

               (1)   The length of time the applicants knew or should have known of their interest

                     in the case;

               (2)   Prejudice to existing parties caused by the applicant’s delay;

               (3)   Prejudice to the applicant if the motion is denied; and

               (4)   Any unusual circumstances.

Stallworth v. Monsanto Co., 558 F.2d 257, 264–66 (5th Cir. 1977). Each factor here demonstrates

the timeliness of Nevada’s motion under the circumstances of this case.

       The first inquiry is contextual, as “absolute measures of timeliness should be ignored.”

Espy, 18 F.3d at 1205. The clock beings to run when the applicants knew or reasonably should

have known of their interests, or from the time they became aware that their interests would no

longer be protected by the existing parties to the lawsuit. Edwards, 78 F.3d at 1000; Espy, 18 F.3d

at 1206.

       Nevada files this motion less than six weeks after the Federal Defendants filed their

“Response to Plaintiffs’ Motion for Summary Judgment and Permanent Injunction,” by which they

stated they “do not oppose an order by this Court entering partial summary judgment on the legal

question whether any employers or individuals who in fact fall within the certified classes have

stated a valid RFRA claim.” (ECF No. 38 at 3). Prior to this, the Federal Defendants had not yet

filed a responsive pleading. The Fifth Circuit has found motions to intervene to be timely even

when filed at substantially later points in litigation. Wal-Mart, 834 F.3d at 565–66 (finding

intervention timely after denial of motion to dismiss, three months after answer was filed, and

“before discovery progressed”); Association of Professional Flight Attendants v Gibbs, 804 F.2d

318, 320–21 (5th Cir. 1986) (finding intervention timely following a five month delay when all

Stallworth factors considered).



                                                 4

                                                                                  NV Exh D 0053
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 55 of 98 PageID 1611



       None of the other Stallworth factors weigh against Nevada. Prejudice to the existing parties

is measured by any delay in seeking intervention (of which there is none), not based on potential

inconvenience of permitting Nevada from participating in the litigation. Espy, 18 F.3d at 1206.

This action has not advanced to a stage where any existing party would be prejudiced. To the

contrary, this Court has issued an “Unopposed Motion for Temporary Restraining Order” to shield

class representatives from tax penalties pending briefing on the pending motions. (ECF Nos. 28-

29 at 2). No unusual circumstances weigh against a finding of timeliness.

               2.      Nevada has Identified Divergent Interests with the Federal Defendants

       In this case, the Federal Defendants:
       •       Have not filed a formal response to Plaintiffs’ original or amended

               complaint;

       •       Did not oppose Plaintiffs’ motion for a temporary restraining order; and

       •       Do not oppose partial summary judgment or a permanent injunction on the

               legal question of whether any employers or individuals who in fact fall

               within the certified classes have stated a valid RFRA claim.

Nevada contends that this demonstrates divergent interests, arguing that the Federal Defendants

have failed to offer a merits-based defense of the ACA’s contraception provisions premised on the

Fifth Circuit’s prior analysis in East Texas Baptist Univ. v. Burwell, 793 F.3d 449 (5th Cir. 2015),

which was subsequently vacated by the United States Supreme Court in Zubik v. Burwell , 136

S.Ct. 1557 (2016). Without prejudging the merits of any such argument, Nevada has demonstrated

that they are inadequately represented, and therefore it is entitled to intervene under Rule 24(a).

On this basis, the Court GRANTS Nevada’s motion to intervene under Rule 24(a).

       B.      Permissive Intervention (Rule 24(b))

       Nevada alternatively moves for intervention under Rule 24(b). The Fifth Circuit has also

instructed that “[f]ederal courts should allow intervention where no one would be hurt and the

greater justice could be obtained.” Texas, 805 F.3d at 657 (citing Sierra Club, 18 F.2d at 1205).


                                                 5

                                                                                  NV Exh D 0054
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 56 of 98 PageID 1612


       First, for the reasons discussed above, Nevada’s Motion is timely. Second, it is clear that

Nevada, without judging the merits, has a defense that shares a question of law with Plaintiffs

pertaining to whether the ACA’s contraception provisions constitute a RCRA violation. Third,

given the existing temporary restraining order protecting named Plaintiffs and the ability of any

other class member to seek similar relief, there is no reason why the intervention would cause

undue delay or prejudice to the original parties. The Court will allow Nevada to file its proposed

Opposition, and allow Plaintiffs an opportunity to file a reply. Under these circumstances, full and

adequate briefing on all sides of this case will not cause prejudice. Cf. Texas, 805 F.3d at 657

(where greater justice can be obtained, intervention should be permitted).

IV.    CONCLUSION

       For the foregoing reasons, the Court finds that Nevada’s Motion to Intervene (ECF No.

___) should be and is hereby GRANTED. Nevada shall file its proposed Opposition to Plaintiffs’

Motion for Summary Judgment and Permanent Injunction with all due haste. Plaintiffs shall be

provided the opportunity to submit any Reply they deem necessary.

       SO ORDERED on this ___ day of _______, 2019.




                                              By:
                                              HON. REED O’CONNOR
                                              UNITED STATES DISTRICT JUDGE




                                                 6

                                                                                  NV Exh D 0055
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19              Page 57 of 98 PageID 1613




                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

  RICHARD W. DEOTTE, et al. ,                    CIVIL ACTION NO. 4:18-cv-00825-O

         Plaintiffs,

  v.

 ALEX M. AZAR, et al.,
          Defendants.


       [PROPOSED] BRIEF OPPOSING PLAINTIFFS’ MOTION FOR SUMMARY
                  JUDGMENT AND PERMANENT INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.5, the State of Nevada

(hereinafter “Nevada” or “Proposed Intervenor”) respectfully submits this Brief opposing

Plaintiffs’ Motion for Summary Judgment and Permanent Injunction.




AARON FORD
  Attorney General
HEIDI PARRY STERN (BAR NO. 08873)
  Solicitor General
CRAIG A. NEWBY (Bar No. 8591)
  Deputy Solicitor General (pro hac vice to follow)
State of Nevada
Office of the Attorney General
100 North Carson Street
Carson City, NV 89701-4717
(775) 684-1100 (phone)
(775) 684-1108 (fax)
hstern@ag.nv.gov
cnewby@ag.nv.gov


Attorneys for Proposed Intervenor
State of Nevada




                                                                             NV Exh E 0056
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                            Page 58 of 98 PageID 1614


                                               TABLE OF CONTENTS

                                                                                                                               PAGE


TABLE OF AUTHORITIES ....................................................................................................... ii-v

INTRODUCTION .......................................................................................................................... 1

PROCEDURAL BACKGROUND................................................................................................. 1

          A.      The Affordable Care Act ........................................................................................... 1

          B.      Prior Litigation Pertaining to ACA-Contraceptive Coverage .................................... 4

LEGAL ANALYSIS ....................................................................................................................... 7

          A.      Standard of Review .................................................................................................... 7

          B.      The Contraception Mandate does not Substantially Burden the Religious
                  Freedom of the Members of the Certified Classes..................................................... 7

          C.      There is a Compelling Governmental Interest in Ensuring Equal Access
                  to Preventive Health Care, Specifically Including Contraception ........................... 10

                  1.      Nevada Has a Compelling Interest in Contraception Coverage ..................... 11

                  2.      Plaintiffs’ Argument Against a Compelling Interest Lack Evidentiary
                          Support and Run Contrary to Applicable Supreme Court Precedent ............. 13

          D.      Present Law Accommodates These Competing Governmental Interests
                  through the Least Restrictive Means Available ....................................................... 15

          E.      Nevada Joins the Federal Defendants’ Opposition to Additional Relief Beyond
                  Named Plaintiffs at This Time ................................................................................. 17


CONCLUSION ............................................................................................................................. 18

CERTIFICATE OF SERVICE ..................................................................................................... 19




                                                                     i
                                                                                                                  NV Exh E 0057
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                          Page 59 of 98 PageID 1615




                                           TABLE OF AUTHORITIES
                                                                                                                            P AGE
CASES

Bob Jones Univ. v. United States,
 461 U.S. 574, 604 (1983) ........................................................................................................... 15

Bolton v. City of Dallas,
 472 F.3d 261, 263 (5th Cir. 2006) ............................................................................................... 7

Bowen v. Roy,
 476 U.S. 693, 106 S. Ct. 2147, 90 L.Ed.2d 735 (1986) ............................................................... 4

Burwell v. Hobby Lobby Stores, Inc.,
 573 U.S. 572, 573, 682, 134 S. Ct. 2751, 189 L.Ed.2d 675, (2014) ...................................... 4, 17

California v. Health & Human Servs.,
 No. 4:17-cv-05783-HSG (N.D. Cal. Jan. 13, 2019) .................................................................... 6

Cutter v. Wilkinson,
 544 U.S. 709, 720 (2005) ........................................................................................................... 17

Dole v. Shenandoah Baptist Church,
 899 F.2d 1389, 1392 (4th Cir. 1990),
  cert. denied, 498 U.S. 846 (1990) ............................................................................................ 14

East Tex. Baptist Univ. v. Burwell,
 793 F.3d 449, 459, 461 (5th Cir. 2015),
  vacated, Zubik, 136 S. Ct. 1557, 1561 (2016) .................................................................. Passim

Hosanna-Tabor Evangelical Lutheran Church & School v. EEOC,
  565 U.S. 171, 188–189, 132 S. Ct. 694, 181 L.Ed. 2d 650 (2012) ........................................... 15

Little Sisters of the Poor v. Sebelius,
  571 U.S. 1171, 134 S. Ct. 1022, 187 L.Ed. 2d 867 (2014) ......................................................... 4

Lyng v. Northwest Indian Cemetery Protective Ass’n,
 485 U.S. 439, 108 S. Ct. 1319, 99 L.Ed.2d 534 (1988) ............................................................... 4

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986) ........................................................................ 7

Pennsylvania v. Trump,
 No. 2:17-cv-04540-WB (E.D. Pa. Jan 14, 2019) ......................................................................... 6



                                                                  ii
                                                                                                                NV Exh E 0058
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                             Page 60 of 98 PageID 1616


Priests for Life v. U.S. Dept. of Health and Human Services,
 772 F.3d 229, 255 (D.C. Cir. 2014) ............................................................................................. 9

Tony & Susan Alamo Found. v. Secretary of Labor,
 471 U.S. 290, 303–306 (1985) ................................................................................................... 15

United States v. Lee,
 455 U.S. 252, 259–61 (1982) ..................................................................................................... 15

University of Notre Dame v. Burwell,
 786 F.3d 606, 625 (7th Cir. 2015) (Hamilton, J., concurring) ................................................... 16

Walz v. Tax Comm'n,
 397 U.S. 664, 676 (1970) ........................................................................................................... 15

Wheaton College v. Burwell,
 573 U.S. 959, 134 S. Ct. 2806, 189 L.Ed. 2d 856 (2014) ............................................................ 4

Zubik v. Burwell,
 136 S. Ct. 1557, 194 L.Ed. 2d 696 (2016) ................................................................................... 5

STATUTES

42 U.S.C. § 300gg-13(a) ................................................................................................................. 2

42 U.S.C. § 300gg-13(a)(4) ............................................................................................................ 2

42 U.S.C. § 300gg-13(a)(54) .......................................................................................................... 2

42 U.S.C. *2000bb-4 .................................................................................................................... 15

42 U.S.C. *2000e(b) ..................................................................................................................... 14

42 U.S.C. *300gg-13 .................................................................................................................... 14

42 U.S.C. *300gg-13(a)(4) ........................................................................................................... 14




                                                                    iii
                                                                                                                   NV Exh E 0059
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                Page 61 of 98 PageID 1617


                                                                                                                                    PAGE
OTHER AUTHORITIES

155 Cong. Rec. S12027 (Dec. 1, 2009) .......................................................................................... 2

158 Cong. Rec. S539 (Feb. 9, 2012). .............................................................................................. 2

159 Cong. Rec. S2268 (Mar. 22, 2013)………………………………………………………………..2

American College of Obstetricians and Gynecologists, (2016)
https://www.hrsa.gov/womens-guidelines/index.html. ..................................................................3

Frost JJ, Frohwirth L and Zolna MR,
 Contraceptive Needs and Services, 2014 Update, New York: Guttmacher Institute, 2016
https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-
   2014_1.pdf ................................................................................................................................ 12

Kaiser Family Foundation,
Medicaid income eligibility for adults as a percent of the federal poverty level, 2018, State
   Health Facts
https://www.kff.org/health-reform/state-indicator/medicaid-income-eligibility-
   limits-for-adults-as-a-percent-of-the-federal-poverty-level...................................................... 11

Kost K, Unintended Pregnancy Rates at the State Level: Estimates for 2010 and Trends Since
   2002, New York: Guttmacher Institute, 2015
https://www.guttmacher.org/report/unintended-pregnancy-rates-state-level-estimates-
   2010-and-trends-2002).............................................................................................................. 12

Sonfield A and Kost K, Public Costs from Unintended Pregnancies and the Role of Public
   Insurance Programs in Paying for Pregnancy-Related Care: National and State Estimates for
   2010, New York: Guttmacher Institute, 2015
https://www.guttmacher.org/report/public-costs-unintended-pregnancies-and-role-public-
   insurance-programs-paying-pregnancy .................................................................................... 12

Clinical Prevention Services for Women: Closing the Gaps (2011) (“IOM Report”),
https://www.nap.edu/read/13181/chapter/1 .................................................................................... 3
https://www.nap.edu/read/13181/chapter/7#104 ............................................................................ 3
https://www.nap.edu/read/13181/chapter/7#107 ............................................................................ 3

Pub. L. No. 91-572 § 2, 84 Stat. 1504 (1970) ............................................................................... 13

Zubik v. Burwell, Brief of Baptist Joint Committee for Regligious Liberty
 2016 WL 692850 (Feb. 17, 2016)................................................................................................ 9

Zubik v. Burwell, Resp. Br.,
 2016 WL 537623, (Feb. 10, 2016)............................................................................................... 8


                                                                      iv
                                                                                                                       NV Exh E 0060
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                             Page 62 of 98 PageID 1618


RULES                                                                                                                           PAGE

26 C.F.R. § 54.9815-2713(a)(1)(iv) ................................................................................................ 3

29 C.F.R. § 2590.715-2713(a)(1)(iv) .............................................................................................. 3

45 C.F.R. § 147.130(a)(1)(iv) ......................................................................................................... 3

45 C.F.R. § 147.131(d)-(e).............................................................................................................. 8

REGULATIONS

77 Fed. Reg. at 16,503 .................................................................................................................. 16

78 Fed. Reg. at 39,888 .................................................................................................................. 16

80 Fed. Reg. at 41,325 .................................................................................................................. 14

Religious Exemptions and Accommodations for Coverage of Certain Preventive Services Under
  the Affordable Care Act, 83 Fed. Reg. 57,536 (November 15, 2018) ........................................ 6

Moral Exemptions and Accommodations for Coverage of Certain Preventive Services Under the
Affordable Care Act, 83 Fed. Reg. 57,592 (November 15, 2018)………………………………..6




                                                                     v
                                                                                                                   NV Exh E 0061
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 63 of 98 PageID 1619



       Intervening Defendant Nevada hereby opposes Plaintiffs’ motion for summary judgment

and permanent injunction, (ECF No. 34) (“Plaintiffs’ Motion”).

                                         INTRODUCTION

       Plaintiffs seek to impose a nationwide class action without any considered analysis of

existing law, this Circuit’s prior analysis of existing law, and without any discovery. Material

facts matter when seeking summary judgment. This is particularly true here, where Plaintiffs seek

to have this Court presume facts without the opportunity for discovery and where Plaintiffs

misinterpret this Circuit’s analysis of what existing law requires of it, all in an effort to turn their

subjective belief as to what existing law requires into a shield against Congress’ legitimate efforts

to provide equal access to preventive care to all Americans (regardless of gender), to both reduce

health care costs and to promote healthier results. Nothing under established Supreme Court

precedent interpreting the RFRA requires such an outcome premised solely on a party’s subjective

beliefs, particularly for nationwide classes that have not yet demonstrated sincere religious

objections in accordance with the RFRA.

       Accordingly, this Court should deny this Motion absent evidence (rather than argument)

as to what the ACA accommodation provisions require of Plaintiffs in practice, rather than

Plaintiff’s subjective beliefs and presumptions.

       This Opposition is based upon the following Memorandum of Points and Authorities, the

pleadings and papers on file in this matter, the Declaration of Beth Handler (Exhibit A), the

Declaration of Kathryn Kost (Exhibit B), any oral argument that the Court may wish to entertain,

and any other matters the Court deems appropriate to consider.

                                PROCEDURAL BACKGROUND

       This is one of the most recent challenges to the Affordable Care Act’s provision of

preventive health care, on an equal basis, as determined by scientists.

       A.      The Affordable Care Act

       This Court has familiarity with the Affordable Care Act. Specifically, the ACA provides

that certain group health insurance plans cover preventive care and screenings without imposing


                                                   1
                                                                                     NV Exh E 0062
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 64 of 98 PageID 1620



costs on the employee and his/her covered dependents. 42 U.S.C. § 300gg-13(a). Importantly,

this includes women’s “preventive care and screenings… as provided for in comprehensive

guidelines supported by the Health Resources and Services Administration.” 42 U.S.C. § 300gg-

13(a)(54).

       During the 2009 health reform debates leading up to the ACA’s passage, the United States

Congress specifically proposed an amendment to require health plans to cover comprehensive

women’s preventive care and screenings. This amendment, which came to be called the Women’s

Health Amendment requires coverage for “preventive care and screenings” for women with no out

of pocket costs to the woman, ensuring essential protections for women’s access to preventive

healthcare not currently covered in other prevention sections of the ACA.

       The Women’s Health Amendment sought to redress the “fundamental inequity” that

women were systematically charged more for preventive services than men. 155 Cong. Rec.

S12027 (Dec. 1, 2009) (statement of Sen. Gillibrand). At the time, “more than half of women

delay[ed] or avoid[ed] preventive care because of its costs.” Id. Supporters of the amendment

expected that eradicating these discriminatory barriers to preventive care – including contraceptive

care – would result in substantially improved health outcomes for women. See, e.g., id. at S12052

(statement of Sen. Franken); id. at. S12059 (statement of Sen. Cardin); id. (statement of Sen.

Feinstein) (same). While the Women’s Health Amendment was ultimately adopted, Congress

rejected a competing amendment that would have permitted broad moral and religious exemptions

to the ACA’s coverage requirements – the same moral and religious exemptions that are reflected

by Plaintiffs’ proposed nationwide class. 158 Cong. Rec. S539 (Feb. 9, 2012); 159 Cong. Rec.

S2268 (Mar. 22, 2013).

       Rather than set forth a comprehensive definition of women’s preventive services that must

be covered, Congress opted to rely on the expertise of HRSA. 42 U.S.C. § 300gg-13(a)(4). HRSA,

in turn, commissioned the Institute of Medicine (IOM) to study the issue, and make evidence-

based recommendations. The IOM assembled a panel of independent experts who surveyed the

relevant literature and peer-reviewed medical research, and ultimately issued a final Report.


                                                 2
                                                                                  NV Exh E 0063
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 65 of 98 PageID 1621



See IOM, Clinical Prevention Services for Women: Closing the Gaps (“IOM Report”) (2011),

available at https://www.nap.edu/read/13181/chapter/1. The IOM Report acknowledged many of

the concerns raised by Congress during adoption of the Women’s Health Amendment

and recommended covering all FDA-approved contraceptive methods. Specifically the

IOM considers these services essential so that “women can better avoid unwanted

pregnancies and space their pregnancies to promote optimal birth outcomes.”                    Id. at

https://www.nap.edu/read/13181/chapter/7#104. The IOM also recommended that “preventive

care” include not only contraceptive coverage such as access to all FDA-approved

contraceptive methods, but also counseling and education to ensure that women received

information   on    the   best   method     for       their   individual   set   of    circumstances.

Id. at https://www.nap.edu/read/13181/chapter/7#107.

       Following the IOM’s recommendations relating to contraceptive coverage, HRSA adopted

the IOM Report’s recommendations in its Guidelines, and the three federal agencies responsible

for implementing the ACA promulgated regulations requiring that regulated-entities cover all

FDA-approved contraceptive methods without cost to women and their covered dependents. 1 45
C.F.R. § 147.130(a)(1)(iv); 29 C.F.R. § 2590.715-2713(a)(1)(iv); 26 C.F.R. § 54.9815-

2713(a)(1)(iv). In implementing this statutory scheme, HHS made clear that these coverage

requirements were not applicable to group health plans sponsored by religious employers. Further,

HHS made available a religious accommodation to certain employers who seek to not provide this

coverage. Through this religious accommodation, the federal government ensured that women

had access to seamless contraceptive coverage as entitled under the ACA, while also providing

employers with a mechanism to opt out of providing or paying for this coverage.




       1
         HRSA reaffirmed their Guidelines based on recommendations by the American College
of Obstetricians and Gynecologists in 2016 and these remain the standard.              See
https://www.hrsa.gov/womens-guidelines/index.html.


                                                  3
                                                                                      NV Exh E 0064
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                   Page 66 of 98 PageID 1622



       B.      Prior Litigation Pertaining to ACA-Contraceptive Coverage

       As noted by Plaintiffs in their Motion for Preliminary Injunction, there has been significant

litigation within this Circuit and before the United States Supreme Court pertaining to the balance

struck between providing equal access to preventive care and respecting sincerely held religious

beliefs pertaining to contraception. These initial lawsuits culminated in Burwell v. Hobby Lobby

Stores, Inc., 134 S. Ct. 2751 (2014), which held that for-profit corporations that oppose

contraceptive coverage for religious reasons must be allowed to use the “accommodation” offered

to religious non-profits. See id. at 2781–82. The Supreme Court also issued emergency relief to

non-profit employers that sought to avoid delivering the prescribed certification by permitting the

employees to directly notify the federal government. See Little Sisters of the Poor v. Sebelius, 134

S. Ct. 1022 (2014); Wheaton College v. Burwell, 134 S. Ct. 2806 (2014). As noted by Plaintiffs,

the federal government subsequently amended regulations implementing the ACA to allow closely

held for profit corporations to use the accommodation offered to religious non-profits and to allow

objecting employers to choose whether to notify the Secretary of Health and Human Services

directly or their health insurance issuers or third-party administrators absent their religious

objections.

       Further litigation ensued throughout various Circuits, including this one. In East Texas

Baptist University v. Burwell, 793 F.3d 449 (5th Cir. 2015), this Circuit held that the ACA’s

accommodation process did not violate RFRA because religious objectors had “not shown and

[were] not likely to show that the requirement substantially burdens their religious exercise under

established law.” Id. at 452. In its analysis, this Circuit noted that plaintiffs must show that the

challenged regulations “substantially burden their religious exercise” to establish a RFRA

violation. Id. at 456. In that case, this Circuit considered the extent to which it should “defer to a

religious objector’s view on whether there is a substantial burden.” Id. Based on two applicable

free-exercise decisions by the Supreme Court in Bowen v. Roy, 476 U.S. 693, 106 S. Ct. 2147, 90

L.Ed.2d 735 (1986) (pertaining to the issuance of a Social Security number) and Lyng v. Northwest

Indian Cemetery Protective Ass’n, 485 U.S. 439, 108 S. Ct. 1319, 99 L.Ed.2d 534 (1988)


                                                  4
                                                                                    NV Exh E 0065
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                   Page 67 of 98 PageID 1623



(pertaining to road and permit logging on federal land), this Circuit concluded it was bound by

precedent to decide, as a question of law, whether the challenged law pressures the objector to

modify his religious exercise. 2 Id. at 456–58.

       This Circuit’s analysis of the ACA’s accommodation process concluded that “the acts

[religious objectors] are required to perform do not include providing or facilitating access to

contraceptives. Instead, the acts that violate their faith are those of third parties.” East Texas

Baptist University, 793 F.3d at 459. First, this Circuit rejected the argument that submitting a

notice seeking exemption from the ACA’s contraception requirements “will authorize or trigger

payments for contraceptives” because the “ACA already requires contraceptive coverage.” Id.

Second, this Circuit rejected the argument that held that the accommodation uses the insurance

plans as vehicles for payments for contraceptives, recognizing that this is just what the regulations

prohibit. Id. Third, this Circuit rejected the argument that offering a group health plan pressures

objectors to authorize or facilitate the use of contraceptives, recognizing that the accommodation

excludes contraceptive coverage from their plans and allowing objectors to express their

disapproval of it. Id. at 461. Stated differently, this Circuit held that “RFRA does not entitle

[objectors] to block third parties from engaging in conduct with which they disagree.” East Texas

Baptist University, 793 F.3d at 461. “In short, the acts the plaintiffs are required to perform do not

involve providing or facilitating access to contraceptives, and the plaintiffs have no right under

RFRA to challenge the independent conduct of third parties.” Id. at 463. (emphasis in original).

       Subsequently, the United States Supreme Court vacated these various rulings in Zubik v.

Burwell, 136 S. Ct. 1557 (2016). It did not do so on the merits. Instead, the Court, following

supplemental briefing from the parties addressing “whether contraceptive coverage could be

provided to petitioners’ employees, through petitioners’ insurance companies, without any such

notice from petitioners,” remanded the cases to provide “an opportunity to arrive at an approach

going forward that accommodates petitioners’ religious exercise while at the same time ensuring


       2
           These two Supreme Court cases remain binding precedent.


                                                  5
                                                                                    NV Exh E 0066
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 68 of 98 PageID 1624



that women covered by petitioners’ health plans receive full and equal health coverage, including

contraceptive coverage.” Id. at 1560.

       Following Zubik, the Departments published a request for information to determine

whether modification to the existing accommodation procedure could resolve the objections

asserted by religious objectors while still ensuring that the affected women receive full and equal

health coverage, including contraception coverage. See Ex. 13 at 315. The Departments received

over 54,000 public comments. Id. In response, the Departments concluded that the “comments

demonstrate that a process like the one described in the [Zubik] Court’s supplemental briefing

order would not be acceptable to those with religious objections to the contraceptive-coverage

requirement.” 3   Id. at 315–316, 318.      Accordingly, the Departments did not modify the

accommodation regulations at that time. Id. at 315.

       Following the change in administrations and consistent with this Administration’s general

opposition to the ACA, the Departments instituted rulemaking proceedings to provide further

exemptions for objecting employers and individuals, eventually issuing final rules that allow

employers and individuals to object to the ACA’s preventive care requirements on sincerely held

religious or moral grounds. See Religious Exemptions and Accommodations for Coverage of

Certain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,536 (November 15,

2018) (attached as Exhibit 9 to Plaintiffs’ Motion); Moral Exemptions and Accommodations for

Coverage of Certain Preventive Services Under the Affordable Care Act, 83 Fed. Reg. 57,592

(November 15, 2018). The Departments’ revised rules are subject to litigation in multiple federal

courts and stayed by one nationwide preliminary injunction (see Pennsylvania v. Trump, No. 2:17-

cv-04540-WB (E.D. Pa. Jan 14, 2019), (ECF No. 136) and by one preliminary injunction for the

13 States (plus the District of Columbia) that were parties to the lawsuit. See California v. Health

& Human Servs., No. 4:17-cv-05783-HSG (N.D. Cal. Jan. 13, 2019), (ECF No. 234).

       3
            It is unclear whether the Plaintiffs in this case would have found such a process
acceptable, although they note the Departments’ conclusion that “no feasible approach had been
identified at this time that would resolve the concerns of religious objectors.” Id.


                                                 6
                                                                                  NV Exh E 0067
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 69 of 98 PageID 1625



       This case seeks a nationwide class action against the ACA’s contraceptive provisions

because of purported violations of the RFRA. This case was filed on October 6, 2018. (ECF No.

1). Plaintiffs subsequently submitted an amended complaint on February 5, 2019. See (ECF No.

19). To date, the Federal Defendants have not filed an answer or other responsive pleading in this

case, notwithstanding this Court’s prior order to do so. (See ECF No. 14). The Federal Defendants

have not opposed Plaintiffs’ request for a temporary restraining order. (See ECF No. 28). The

Federal Defendants “are not raising a substantive defense of the Mandate or the accommodation

process with respect to Plaintiffs’ Religious Freedom Restoration Act (“RFRA”) challenge.” (ECF

No. 38 at 3). Nevada sought to intervene to ensure its sovereign interests in the existing ACA

contraception protections, along with Nevada’s statutory provision requiring contraception

coverage absent objection by religious organizations with sincerely held religious beliefs.

       For the foregoing reasons, summary judgment is inappropriate at this time.

                                       LEGAL ANALYSIS

       A.      Standard of Review

       This Court is well aware of the standards for awarding summary judgment.           The court

views all evidence in the light most favorable to the non-moving party. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986). Summary judgment

is appropriate only where there is no genuine issue of material fact and the moving party is entitled

to judgment as a matter of law. Bolton v. City of Dallas, 472 F.3d 261, 263 (5th Cir. 2006).

       B.      The Contraception Mandate does not Substantially Burden the Religious
               Freedom of the Members of the Certified Classes.

       This Circuit has previously analyzed the acts required to comply with the

“accommodation” provided for under the Contraception Mandate in E. Tex. Baptist Univ. v.

Burwell, 793 F.3d 449 (5th Cir. 2015), vacated, Zubik, 136 S. Ct. 1557, 1561 (2016). There, this

Circuit held that “the acts [objectors] are required to perform do not include providing or

facilitating access to contraceptives.” Id. at 459. Accordingly, because “RFRA confers no right

to challenge the independent conduct of third parties,” [this Circuit joined other circuits] in


                                                 7
                                                                                   NV Exh E 0068
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 70 of 98 PageID 1626



concluding that the plaintiffs have not shown a substantial burden on their religious exercise.” Id.

Stated differently, this Circuit held that “RFRA does not entitle [objectors] to block third

parties from engaging in conduct with which they disagree.” East Texas Baptist University,

793 F.3d at 461.

       Without any opportunity for discovery, Plaintiffs argue that this Circuit’s prior analysis

should be ignored. This is mistaken for numerous reasons.

       First, Defendants inaccurately asserts that contraception coverage would be “provided

through its plan if it opts for the accommodation,” based on a statement pertaining to ERISA

formalities during briefing for Zubik. (ECF No. 21-1 at 19). This assertion ignores the plain

language of the accommodation, which excludes contraceptive coverage from the group coverage,

segregates all premium revenue, and provides separate notice regarding the separate contraceptive

coverage. See 45 C.F.R. § 147.131(d)-(e). As the federal government told the Supreme Court in

Zubik, “[i]n all cases, the regulations mandate strict separation between the contraceptive coverage

provided by an insurer or [third party administrator] TPA and other coverage provided on behalf

of the employer.” Zubik, Resp. Br., 2016 WL 537623, at *18. Plaintiffs point to no evidence

demonstrating that their own health plans “sponsor” the entirely separate contraceptive coverage,

because none exists. That result is impermissible under the existing regulations. See 45 C.F.R. §

147.131(d)-(e).

       Although Plaintiffs cite the federal government’s brief in Zubik as allegedly conceding this

point, that brief directly refutes it: “Nor does the government, in fact, provide contraceptive

coverage using any ‘plan infrastructure’ belonging to petitioners.” Zubik, Resp. Br., 2016 WL

537623, at *38. It is true that in Zubik, the government explained that if an objecting employer

has a self-insured plan subject to ERISA, “the Departments’ authority to require the TPA to

provide contraceptive coverage derives from ERISA.” Zubik, Resp. Br., 2016 WL 537623, at *38.

That means that the separate contraceptive coverage between the TPA and the employee—for

purposes of ERISA only—is part of the same ERISA plan as the coverage provided by the

employer. Id. But that does not change the fact that even for those self-insured plans, the “rules


                                                 8
                                                                                  NV Exh E 0069
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 71 of 98 PageID 1627



governing contraceptive coverage are established by the government, not the employer, and the

employer does not fund, control, or have any other involvement in that separate coverage—instead,

the TPA alone does so.” Id.

       In short, the ERISA status of the separate contraceptive coverage between the TPA and the

employee does not affect the terms of the group health coverage that the employer and the insurer

have contractually agreed upon— coverage that excludes contraceptives. See, e.g., Priests for

Life, 772 F.3d 229, 255 (D.C. Cir. 2014) vacated by Zubik, 136 S. Ct. 1357 (2016) (the fact that

the government names the TPA as the plan administrator of the separate contraceptive coverage,

for purposes of ERISA only, “does not . . . amend or alter Plaintiffs’ own plan instruments . . .”).

The Fifth Circuit’s prior analysis was not based “on a mistaken factual premise.”

       Second, Plaintiffs contend that this Circuit “did not accurately describe the burdens that

the ‘accommodation’ imposes on objecting employers.” Stated differently, Plaintiffs argue that

the submission of the form is the but-for cause of providing contraception. (ECF No. 21-1 at 20–

21). However, this Circuit specifically noted that the ACA itself “already requires contraceptive

coverage” and that nothing “suggests that insurers’ or third-party administrators’ obligations

would be waived if the plaintiffs refused to apply for the accommodation.” East Texas Baptist

University, 793 F.3d at 459. Stated differently, this Circuit recognized that “the plaintiffs cannot

authorize or trigger what others are already required by law to do.” Id. Plaintiffs are not entitled

to absolute deference on the issue of substantial burden under these circumstances. See Brief of

the Baptist Joint Committee for Religious Liberty as Amicus Curiae in Support of Respondents,

Zubik v. Burwell, 2016 WL 692850 (Feb. 17, 2016) (opposing efforts to seek absolute deference

to objectors’ assessment of substantial burden).

       Third, Plaintiffs’ arguments pertaining to the post-Zubik administrative process are

misleading. Here, Plaintiffs argue that the administrative response to Zubik shows that “it is

impossible for a court to accept East Texas Baptist‘s holding that the certification form does

nothing to ‘facilitate’ or ‘trigger’ access to contraception.” (ECF No. 21 at 16). This is based

on comments that “a process like the one described in the Court’s supplemental briefing


                                                   9
                                                                                  NV Exh E 0070
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                   Page 72 of 98 PageID 1628



order [in Zubik] would not be acceptable to those with religious objections to the contraceptive-

coverage requirement.”      (Ex. 14 at 4).       Plaintiffs’ objections to the proposed process,

without further evidence, do not make it impossible for this Court to follow this Circuit’s prior,

persuasive analysis.

       Plaintiffs contend without evidence that individual insurance requirements substantially

burdens their religious freedom because it compels them to subsidize coverage of contraceptive

methods or forego insurance entirely. However, there is no evidence that one’s purchase of health

insurance necessarily subsidizes another’s contraception. As noted by this Circuit, “insurers will

not lose money by paying for contraceptives, because the savings on pregnancy care at least are

expected to equal the costs of contraceptives.” Id. at 460. Stated differently, providing preventive

health care results in reduced health care costs, and constituting long-term savings for insurers that

is passed along to all insureds. Without record evidence showing an actual subsidy, Plaintiffs’

argument has no merit.

       C.       There is a Compelling Governmental Interest in Ensuring Equal Access
                to Preventive Health Care, Specifically Including Contraception.

       Without evidence, Plaintiffs argue that there is no compelling interest in ensuring that

everyone (regardless of gender) has access to preventive care, as determined by a nonpartisan

committee of health experts subject to rigorous, independent external review. This ignores the

Supreme Court’s recognition in Hobby Lobby that the contraceptive-coverage requirement “serves

the Government’s compelling interest in providing insurance coverage that is necessary to

protect the health of female employees, coverage that is significantly more costly than for a male

employee.” Id. at 2785-2786 (Kennedy, J., concurring); accord id. at 2799-2800 & n.23 (Ginsburg,

J., dissenting). This also ignores significant evidence from Nevada and elsewhere that there is a

compelling governmental interest in ensuring equal access to health care, specifically including

contraception. See Ex. B (addressing importance of contraception generally and state-specific

information).




                                                 10
                                                                                    NV Exh E 0071
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 73 of 98 PageID 1629



                 1.     Nevada Has a Compelling Interest in Contraception Coverage.

        In Nevada, more than 379,000 women of child bearing age (aged 15–44) receive private

insurance coverage and could be affected by Plaintiffs’ proposed class action relief. (Ex. A at ¶

2). In Nevada, some women who would be impacted by Plaintiffs’ proposed nationwide class

action would not qualify for Medicaid or Title X because they would not meet the income

eligibility requirements for coverage or subsidized care under these programs. (Id.; see also Kaiser

Family Foundation, Medicaid income eligibility for adults as a percent of the federal poverty level,

2018, State Health Facts, https://www.kff.org/health-reform/state-indicator/medicaid-income-

eligibility-limits-for-adults-as-a-percent-of-the-federal-poverty-level). For example, in Nevada,

childless adults and parents are eligible for full-benefit Medicaid only if they have incomes at or

below 138% of the federal poverty level. Id. As a result, some women would be at increased risks

of unintended pregnancy, either because they are not able to afford the contraception methods that

work best for them or because cost would force them to forgo contraception use entirely. (Ex. A

at ¶ 4). Even based on the calculations in the Federal Government’s proposed Final Rules, between

600 to 1,200 Nevadan women would be harmed from implementation of Plaintiffs’ proposed class

relief. (Id. at ¶ 5).

        Even Nevada women eligible for publicly funded family planning services through

Medicaid and Title X could be denied the ability to obtain contraceptive counseling and services

from their desired provider at the same time they receive other primary and preventive care. This

situation would increase the time, effort, and expense involved in getting needed contraception

while interfering with health care providers’ ability to holistically managing these women’s health

conditions. (Id. at ¶ 6).

        Finally, the increase in Nevada women relying on publicly funded services would strain

Nevada’s existing family planning programs and providers, making it more difficult for them to

meet the current need for care. For instance, in 2014, 194,000 women were in need of publicly

funded family planning in Nevada, with the existing state family planning network only able to




                                                11
                                                                                  NV Exh E 0072
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                      Page 74 of 98 PageID 1630



meet 10% of this need. (Id. at ¶ 5; Ex. B at § 59; 4 see also Frost JJ, Frohwirth L and Zolna MR,

Contraceptive Needs and Services, 2014 Update, New York: Guttmacher Institute, 2016,

https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-

2014_1.pdf).

           Nevada is particularly concerned that loss of access to contraception would lead to

unintended pregnancies and abortions.           According to the Centers for Disease Control and

Prevention (“CDC”), unintended pregnancy is associated with an increased risk of health problems

for       the   mother   and    child,   resulting   in   increased   healthcare   costs   relative   to

intended pregnancies. (Ex. A at ¶ 8). Before implementation of the Affordable Care Act, 29,000

unintended pregnancies occurred in 2010 among Nevada residents, a rate of 54 per 1,000

women of child bearing age. (Id. at ¶ 9; Ex. B at ¶ 60; see also Kost K, Unintended Pregnancy

Rates at the State Level: Estimates for 2010 and Trends Since 2002, New York: Guttmacher

Institute,      2015,     https://www.guttmacher.org/report/unintended-pregnancy-rates-state-level-

estimates-2010-and-trends-2002). Of those unintended pregnancies that ended in birth, 60% were

paid for by Medicaid and other public insurance programs, costing Nevada $37 million and the

federal government $66 million in 2010. (Ex. A at ¶ 10; Ex. B. at 61; see also Sonfield A and

Kost K, Public Costs from Unintended Pregnancies and the Role of Public Insurance Programs

in Paying for Pregnancy-Related Care: National and State Estimates for 2010, New York:

Guttmacher         Institute,   2015,     https://www.guttmacher.org/report/public-costs-unintended-

pregnancies-and-role-public-insurance-programs-paying-pregnancy).

           Further, the CDC notes that women with unintended pregnancies are more likely to delay

prenatal care, with is imperative to positive birth outcomes. Implementation of the ACA resulted

in a 35% decrease in Nevada’s abortion rate among women aged 15 to 19 and a 10% decrease


      4
      Ms. Kost, is the Acting Vice President for Domestic Research at the Guttmacher Institute,
having served in various capacities there for nearly 30 years. Ex. B at § 1. Her declaration
describes harms associated with Plaintiffs’ proposed permanent injunction, both on a nationwide
and Nevada-specific basis.


                                                     12
                                                                                     NV Exh E 0073
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 75 of 98 PageID 1631



amount women aged 20 to 24 between 2012 to 2017. Ex. A at ¶ 11. Plaintiffs’ proposed class

action would increase Nevada expenditures while harming the public heath of Nevada women. Id.

at ¶ 12.

                  2.     Plaintiffs’ Argument Against a Compelling Interest Lack Evidentiary
                         Support and Run Contrary to Applicable Supreme Court Precedent.

           Plaintiffs’ arguments at this early stage of litigation lack evidentiary support and are

genuinely disputed for the following reasons.

           First, Congress, when approving the Affordable Care Act, specifically adopted the

Women’s Health Amendment, which provided for a nonpartisan committee of health experts,

subject to rigorous, independent external review, to determine what constitutes cost-free

“preventive care” coverage for women. Review of the legislative history associated with the

Women’s Health Amendment shows that Congress wanted science, rather than politics, to

determine what constitutes “preventive care.” Plaintiffs’ argument that the ACA does not require

preventive care is without statutory or legislative support.

           Second, Plaintiffs ignore Congress’ long held recognition of the importance of

contraception access under Title X, which makes comprehensive, voluntary family planning

services available to “all persons desiring such services.” See Pub. L. No. 91-572 § 2, 84 Stat.

1504 (1970). Congress also intended to support “public and nonprofit private entities to plan and

develop comprehensive programs of family planning services” and to evaluate and improve the

effectiveness of these programs.       Id.   In short, there is longstanding Congressional policy

recognizing the importance of contraception.

           Third, Plaintiffs argue without evidentiary support that the ACA’s exemption of

“grandfathered” plans constitutes evidence that contraception is not a compelling interest. (ECF

No. 21-1 at 25). However, it makes no sense to suggest that the government cannot have a

compelling interest in the application of a law because that law allows for some exceptions -

particularly a law like the ACA. Current law allows numerous organizations to not pay taxes; half

the country's draft-age population is exempt from registering for the draft; and Title VII does not


                                                 13
                                                                                  NV Exh E 0074
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 76 of 98 PageID 1632



apply to millions of employers with fewer than 15 employees, see 42 U.S.C. 2000e(b). No one

would suggest that raising tax revenue, raising an army, and combating employment

discrimination are not compelling interests. Taken Plaintiffs’ argument further, an employer who

asserted a religious objection to hiring women or paying them equally, cf. Dole v. Shenandoah

Baptist Church, 899 F.2d 1389, 1392 (4th Cir.), cert. denied, 498 U.S. 846 (1990), would be

entitled to a RFRA exemption from Title VII because the government would lack a compelling

interest in enforcing that law because it does not protect the millions of Americans who work for

small employers. This makes no sense and such arguments should be rejected by this Court.

       Fourth, Plaintiffs argue without evidentiary support that the ACA’s treatment of small

employers constitutes evidence that contraception coverage is not a compelling interest. (ECF No.

21-1 at 25–26). This ignores the fact that those small employers that do provide coverage also

must comply with the preventive-services requirement and are subject to the same enforcement

mechanisms as other employers. 42 U.S.C. 300gg-13. If a small employer elects not to provide

health coverage (or if a large employer chooses to pay the tax rather than provide coverage),

employees will usually obtain coverage through a family member's employer, through an

individual insurance policy purchased on a health exchange or directly from an insurer, or through

Medicaid or another government program. Each source would include contraceptive coverage.

42 U.S.C. 300gg-13(a)(4). Further, federal statutes often include exemptions for small employers,

and such provisions have never been held to undermine such statute’s interests, including Title

VII, the Age Discrimination in Employment Act of 1967 (ADEA), and the Family and Medical

Leave Act of 1993 (FMLA). Taken to its logical conclusion, Plaintiffs’ argument, if accepted,

would entitle employers with religious objections to opt out of virtually every statute protecting

their employees. Nothing from the Supreme Court or this Circuit requires such a result.

       Fifth, Plaintiffs argue without evidentiary support that the ACA’s exemption of church

employers constitutes evidence that contraception is not a compelling interest. (ECF No. 21-1 at

26).   However, this exemption “was provided against the backdrop of the longstanding

governmental recognition of a particular sphere of autonomy for houses of worship.” 80 Fed. Reg.


                                               14
                                                                                NV Exh E 0075
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 77 of 98 PageID 1633



at 41,325. Such special solicitude for houses of worship has deep historical roots. See Walz v. Tax

Comm'n, 397 U.S. 664, 676 (1970); cf. Hosanna-Tabor Evangelical Lutheran Church & School v.

EEOC, 132 S. Ct. 694, 705–706 (2012). Taking Plaintiffs’ argument to its logical conclusion,

providing such an exemption would discourage government exemptions for houses of worship,

contrary to RFRA's intent or with its express provision recognizing the permissibility of

discretionary religious exemptions beyond those that RFRA compels. See 42 U.S.C. 2000bb-4

(“Granting … exemptions, to the extent permissible under the Establishment Clause, shall not

constitute a violation of [RFRA].”).

       In short, Plaintiffs cannot establish with evidence that there is not a compelling interest in

the government’s provision of preventive health care without regard to gender.

       D.      Present Law Accommodates These Competing Governmental Interests
               through the Least Restrictive Means Available.

       Plaintiffs presume without evidence that present law requires them to provide access to

free contraception. The Fifth Circuit addressed the factual infirmities with this presumption in

East Texas Baptist University. v. Burwell, 793 F.3d 449 (5th Cir. 2015), vacated, Zubik, 136 S. Ct.

1557, 1561 (2016).

       Once it is established that the challenged policy serves a compelling interest, the question

is whether the government has pursued that interest through the least-restrictive means “available.”

Bob Jones Univ. v. United States, 461 U.S. 574, 604 (1983). Under Plaintiff’s logic, an employer

with religious objections to certain immunizations would be entitled an exemption from the

obligation to cover immunizations, because Congress could enact a new law establishing separate

insurance or could be exempt from minimum-wage laws because Congress could pass a law to

make up the difference. See Tony & Susan Alamo Found. v. Secretary of Labor, 471 U.S. 290,

303–306 (1985).

       This analysis has no support under Supreme Court precedent and is impossible to reconcile

with United States v. Lee, 455 U.S. 252, 259–61 (1982). There, the Supreme Court denied an

exemption to an Amish employer with religious objections to participating in the Social Security


                                                15
                                                                                   NV Exh E 0076
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 78 of 98 PageID 1634



system in part because the exemption would have resulted in the denial of benefits to employees.

Id. Under Plaintiffs’ argument, the government itself should have stepped in to pay Social Security

benefits directly to the employees, or restructured the Social Security system to rely on direct

employee contributions or general tax revenues rather than employer withholding. Each step was

theoretically within Congress's power, and each would have been less burdensome on the employer

than requiring his participation in the Social Security system. The Supreme Court rejected that

logic under the Free Exercise Clause, and this Court should not attribute to Congress an intent to

take such a dramatic step in RFRA.

       The accommodation amply satisfies this standard for the least restrictive means available.

“The heart of the Affordable Care Act was a decision to approach universal health insurance by

expanding” and improving the existing “employer-based system of private health insurance that

had evolved in our country, rather than to substitute a new ‘single payer’ government program to

pay for health care, like the systems in place in the United Kingdom and Canada.” University of

Notre Dame v. Burwell, 786 F.3d at 625 (Hamilton, J., concurring) (vacated based on Zubik); see

also, 78 Fed. Reg. at 39,888. The accommodation works within that system of private, employer-

based coverage to ensure that the compelling interests served by the contraceptive-coverage

requirement are met, while also eliminating any role for objecting employers.

       Specifically, the Departments engaged in an extensive rulemaking process that included

multiple rounds of public comment and consultation with “representatives of religious

organizations, insurers, women's groups, insurance experts, and other interested stakeholders.” 77

Fed. Reg. at 16,503. They considered a wide variety of alternative approaches, but concluded that

those alternatives “were not feasible and/or would not advance the government's compelling

interests as effectively” as the accommodation. 78 Fed. Reg. at 39,888. The post-Zubik request

for information process confirmed that there was no such process would resolve religious

objections to the accommodation, which appear to apply to any system in which their employees

gain an entitlement to contraceptive coverage from third parties after petitioners opt out.




                                                16
                                                                                  NV Exh E 0077
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 79 of 98 PageID 1635



       Unlike Hobby Lobby, this is not a case in which a proposed less-restrictive alternative is

“an existing, recognized, workable, and already-implemented framework to provide coverage.”

Hobby Lobby, 134 S. Ct. at 2786 (Kennedy, J., concurring). The Supreme Court explained that

accepting the RFRA challenge in Hobby Lobby “need not result in any detrimental effect on any

third party” because the accommodation already in place for religious nonprofit organizations

could be extended to closely held for-profit companies. Id. at 2781 n.37. The Court thus

repeatedly emphasized that the effect of its decision on female employees and beneficiaries “would

be precisely zero.” Id. at 2760; see id. at 2759, 2782–2783. Here, Plaintiffs seek to invalidate the

very regulatory accommodation that Hobby Lobby identified, while conceding that it would require

Congress to establish “a whole new program” of contraceptive coverage, id. at 2786 (Kennedy, J.,

concurring), or to significantly modify an existing program. Unless Congress took such action,

women who rely on objecting employers for their health coverage would be denied contraceptive

coverage altogether.

       The accommodation serves the government’s compelling interest while minimizing the

burden on objecting employers. In contending that even more is required, and that RFRA grants

them a right to prevent the affected women from obtaining separate coverage from third parties,

Plaintiffs disregard the Supreme Court’s admonition that courts applying RFRA “must take

adequate account of the burdens a requested accommodation may impose on nonbeneficiaries.”

Hobby Lobby, 134 S. Ct. at 2781 n.37 (quoting Cutter v. Wilkinson, 544 U.S. 709, 720 (2005)).

The free exercise of religion protected by RFRA cannot “unduly restrict other persons, such as

employees, in protecting their own interests, interests the law deems compelling.” Id. at 2787

(Kennedy, J., concurring).

       E.      Nevada Joins the Federal Defendants’ Opposition to Additional Relief Beyond
               Named Plaintiffs at This Time.

       The Federal Defendants oppose additional relief beyond named plaintiffs because

“unnamed class members have not yet established that they in fact have a sincere religious

objection to the Mandate.” (ECF No. 38 at 4). The Federal Defendants submit that they are


                                                17
                                                                                  NV Exh E 0078
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 80 of 98 PageID 1636



required to have “an opportunity … to contest such a showing” (id. at 6) and that the “proposed

injunction puts Defendants at risk of contempt when enforcing the Mandate.” Id. at 8. Finally,

the Federal Defendants argue that “Plaintiffs are improperly proposing that this Court enter final

judgment,” effectively putting “the cart before the horse.” (ECF No. 38 at 9).

       While Nevada and the Federal Defendants have a fundamental disagreement pertaining to

the validity of the ACA contraception provisions, such that Nevada’s interest in the existing statute

is not being adequately defended by the Federal Defendants, it joins in the other Defendants

opposition to additional relief beyond the named Plaintiffs at this time.

                                         CONCLUSION

       For the foregoing reasons, Nevada respectfully requests respectfully requests that this

Court deny Plaintiffs’ Motion for Summary Judgment and Permanent Injunction.

       DATED: May 24, 2019.
                                              AARON D. FORD
                                              Attorney General

                                              By: /s/ Craig A. Newby
                                                 HEIDI PARRY STERN (NV Bar. No. 8873)
                                                 Solicitor General
                                                 CRAIG A. NEWBY (NV Bar No. 8591)
                                                 Deputy Solicitor General
                                                 hstern@ag.nv.gov
                                                 cnewby@ag.nv.gov

                                                  Attorneys for Proposed Intervenor
                                                  State of Nevada




                                                18
                                                                                   NV Exh E 0079
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 81 of 98 PageID 1637



                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing by using the CM/ECF system on

the 24th day of May, 2019.

       I further certify that that I placed a true and correct copy postage prepaid in the U.S. mail,

Carson City, Nevada to the following counsel of record:



                                              By:    /s/ Sandra Geyer
                                                     Sandra Geyer, Employee of the Office
                                                     of the Attorney General




                                                19
                                                                                   NV Exh E 0080
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 82 of 98 PageID 1638




                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

  RICHARD W. DEOTTE, et al. ,                    CIVIL ACTION NO. 4:18-cv-00825-O

         Plaintiffs,

  v.

 ALEX M. AZAR, et al.,
          Defendants.


                       BRIEF IN SUPPORT OF MOTION TO INTERVENE
                                 BY THE STATE OF NEVADA

       Pursuant to Federal Rule of Civil Procedure 24, the State of Nevada (hereinafter “Nevada”

or “Proposed Intervenor”) respectfully submits this Brief in support of their Motion to Intervene

as a defendant.




AARON FORD
  Attorney General
HEIDI PARRY STERN (Bar No. 08873)
  Solicitor General
CRAIG A. NEWBY (Bar No. 8591)
  Deputy Solicitor General (pro hac vice to follow)
State of Nevada
Office of the Attorney General
100 North Carson Street
Carson City, NV 89701-4717
(775) 684-1100 (phone)
(775) 684-1108 (fax)
hstern@ag.nv.gov
cnewby@ag.nv.gov


Attorneys for Proposed Intervenor
State of Nevada




                                                                                NV Exh F0081
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                            Page 83 of 98 PageID 1639


                                               TABLE OF CONTENTS
                                                                                                                               PAGE

TABLE OF AUTHORITIES ...................................................................................................... ii-iv

INTRODUCTION ...................................................................................................................... 1

I.        Nevada Is Entitled to Intervene as a Matter of Right.......................................................... 2

          A.      Nevada’s Motion Is Timely Because It Was Filed Six Weeks
                  After this Court Granted Its Amended Class Certification Order,
                  Converted Pending Motions into Dispositive Motions, and the
                  Federal Government Stated it Would not Defend the ACA Provisions .................... 3

          B.      Nevada Has Direct, Substantial, and Legally Protectable Interests
                  that Will Likely be Impaired by this Litigation ......................................................... 4

          C.      This Suit Will Impair Nevada’s Ability to Protect Its Interests
                  in the ACA’s Contraception Provisions..................................................................... 7

          D.      The Federal Defendants Do Not Adequately Represent Nevada’s Interests ............. 8

                  1. No Party Has Defended Current Federal Statute ................................................. 8

                  2. No Presumption of Adequate Representation Applies Here................................ 9

                  3. The Federal Defendants Have Adversity of Interest or Nonfeasance Here ......... 9

II.       In the Alternative, Nevada Should Be Granted Permissive Intervention ......................... 10

CONCLUSION ............................................................................................................................. 11

CERTIFICATE OF SERVICE ..................................................................................................... 12




                                                                     i
                                                                                                                   NV Exh F0082
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                         Page 84 of 98 PageID 1640


                                          TABLE OF AUTHORITIES
                                                                                                                         PAGE
CASES

Alfred L. Snapp & Son v. Puerto Rico,
  458 U.S. 592, 607-608 (1982) ..................................................................................................... 7

Association of Professional Flight Attendants v Gibbs,
 804 F.2d 318, 320–21 (5th Cir. 1986) ......................................................................................... 4

Blumfield v. Dodd,
  749 F.3d 339, 341, 344-346 (5th Cir. 2014) ..................................................................... 2,8,9,10

East Texas Baptist Univ. v. Burwell,
 793 F.3d 449 (5th Cir. 2015) ................................................................................................... 1, 8

Edwards v. City of Houston,
 78 F.3d 983, 999, 1000, 1005 (5th Cir. 1996) (en banc) .......................................................... 3,8

Entergy Gulf States La., LLC v. E.P.A.,
 817 F.3d 198, 203, 204-205 (5th Cir. 2016) .......................................................................... 9, 10

In re Enron Corp. Sec. Derivative & “ERISA” Litig.,
  229 F.R.D. 126, 131 (S.D. Tex. 2005) ....................................................................................... 10

In re Lease Oil Antitrust Litig.,
  570 F.3d 244, 248 (5th Cir. 2009) ............................................................................................... 3

Kneeland v. Nat’l Collegiate Athletic Ass’n,
 806 F.2d 1285, 1289 (5th Cir. 1987) ......................................................................................... 10

League of United Latin American Citizens, District 19 v. City of Boerne,
 659 F.3d 421, 434 (5th Cir. 2011) ............................................................................................... 5

Massachusetts v. E.P.A.,
 549 U.S. 497, 519-20 (2007) ....................................................................................................... 7

Sierra Club v. Espy,
  18 F.3d 1202, 1205,1206, 1207 (5th Cir. 1994) ............................................................... 3,4,8,10

Stallworth v. Monsanto Co.,
  558 F.2d 257, 264–66 (5th Cir. 1977) ......................................................................................... 3

Texas v. United States,
 805 F.3d 653, 657, 663 (5th Cir. 2015) .............................................................................. Passim



                                                                 ii
                                                                                                               NV Exh F0083
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                 Page 85 of 98 PageID 1641


                                                                                                                                     PAGE
Wal-Mart Stores, Inc. v. Texas Alcoholic Beverage Comm’n,
 834 F.3d 562, 565, 566, 568, 569 (5th Cir. 2016) .............................................................. Passim

Zubik v. Burwell,
 136 S. Ct. 1557, 194 L.Ed. 2d 696 (2016) ................................................................................... 8

STATUTES

42 U.S.C. § 300gg-13(a)(4) ............................................................................................................ 1

Nev. Rev. Stat. §§ 689A.0418 ........................................................................................................ 1

OTHER AUTHORITIES

Contraceptive Needs and Services, 2014 Update, New York: Guttmacher Institute, 2016,
  https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-
  2014_1.pdf .................................................................................................................................. 6

Medicaid Income Eligibility for Adults as a Percent of the Federal Poverty Level, State Health
   Facts, 2018,
https://www.kff.org/health-reform/state-indicator/medicaid-income-eligibility-limits-for-adults-
   as-a-percent-of-the-federal-poverty-level ................................................................................... 5

Public Costs from Unintended Pregnancies and the Role of Public Insurance Programs in
   Paying for Pregnancy-Related Care: National and State Estimates for 2010, New York:
   Guttmacher Institute, 2015,
https://www.guttmacher.org/report/public-costs-unintended-pregnancies-and-role-public-
   insurance-programs-paying-pregnancy ...................................................................................... 7

U.S. Dep’t of Labor, Emp. Benefits Sec. Admin., FAQs About Affordable Care Act
  Implementation Part 36, (Jan. 9, 2017) ....................................................................................... 9

Unintended Pregnancy Rates at the State Level: Estimates for 2010 and Trends Since 2002,
   New York: Guttmacher Institute, 2015,
https://www.guttmacher.org/report/unintended-pregnancy-rates-state-level-estimates-2010-and-
   trends-2002 ................................................................................................................................. 7




                                                                       iii
                                                                                                                         NV Exh F0084
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                                                  Page 86 of 98 PageID 1642


RULES                                                                                                                                 PAGE

26 C.F.R. § 54.9815-2713(a)(1)(iv) ................................................................................................ 1

29 C.F.R. § 2590.715 – 2713(a)(1)(iv) ........................................................................................... 1

45 C.F.R. § 147.130(a)(1)(iv) ......................................................................................................... 1

Rule 24(a)........................................................................................................................................ 5

Rule 24(a)(2) ............................................................................................................................... 2, 4

Rule 24(b)(2) ................................................................................................................................. 10




                                                                        iv
                                                                                                                           NV Exh F0085
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 87 of 98 PageID 1643


                                      INTRODUCTION

       Plaintiffs seek nationwide class relief establishing that the Religious Freedom Restoration

Act excuses “every current and future” employer or individual who has a “sincerely held religious

belief” from “establishing, maintaining, providing, offering, or arranging for” contraception

coverage, without regard to the health needs or beliefs of insured employees. (See ECF No. 37 at

2). Plaintiffs’ Motion for Class Certification was granted on March 30, 2019 (See ECF No. 33)

and Plaintiffs’ Motion for Preliminary Injunction was ordered to be treated as a motion for

summary judgment and permanent injunction by this Court on April 11, 2019. (See ECF No. 37).

This has all happened without Defendants providing a merits-based defense to what this Court has

termed the “Contraceptive Mandate,” 1 notwithstanding binding United States Supreme Court
precedent on religious exercise, as persuasively analyzed by the Fifth Circuit on this issue. See

East Texas Baptist Univ. v. Burwell, 793 F.3d 449 (5th Cir. 2015).

       Plaintiffs seek to impose their nationwide class onto Nevada with no consideration of the

ACA’s existing contraception provisions or Nevada’s statutorily-expressed compelling interests

in insuring similar protections for its citizens. Nevada statutes specifically require Nevada-

licensed insurance plans to provide coverage for contraception services, except for those affiliated

with a religious organization that objects on religious grounds. See Nev. Rev. Stat. §§ 689A.0418

(individual health care plans), 689B.0378 (group and blanket health care plans), 689C.1676 (health
insurance for small employers), 695A.1865 (fraternal benefit societies), 695B.1919 (nonprofit

corporations for hospital, medical and dental services), and 695C.1696 (health maintenance

organizations) (emphasis added). Plaintiffs disregard these statutes and the harms to Nevada’s

citizens and budget that would be caused by implementation of such nationwide class relief. These

harms include increased unintentional pregnancy, reversal of significant decreases in abortions,




   1
     Codified at 42 U.S.C. § 300gg-13(a)(4), 45 C.F.R. § 147.130(a)(1)(iv), 29 C.F.R. § 2590.715
– 2713(a)(1)(iv), and 26 C.F.R. § 54.9815-2713(a)(1)(iv),


                                                 1
                                                                                   NV Exh F0086
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 88 of 98 PageID 1644



increased state-borne health care costs, and unsustainable reliance on federal Title X funds

designed to provide contraceptives and family planning support to low income women.

       Under these circumstances, mandatory intervention pursuant to Rule 24(a)(2) is warranted.

Nevada has a sovereign interest in the provision of preventive care equitably, including

contraceptive care, to ensure public health and safety. Resolution of this case without Nevada’s

intervention impedes Nevada’s ability to protect those interests.          Respectfully, the Federal

Defendants are not defending Nevada’s sovereign interest in its right to provide contraceptive care

to its citizens, as provided for by the ACA’s preventive care provisions. This Motion is timely,

based on this Court’s recent conversion of a motion for preliminary injunction into a motion for

summary judgment and permanent injunction where the Federal Defendants have not yet answered

or otherwise responded to Plaintiffs’ original or amended complaint and only recently stated they

would not defend existing law on the merits. In the alternative, Nevada should be permitted to

intervene pursuant to Rule 24(b).

       This Motion is based upon the following Memorandum of Points and Authorities, the

pleadings and papers on file in this matter, the Declaration of Beth Handler (Exhibit A), the

Declaration of Kathryn Kost (Exhibit B), any oral argument that the Court may wish to entertain,

and any other matters the Court deems appropriate to consider.

I.     Nevada Is Entitled to Intervene as a Matter of Right.

       A party is entitled to intervene as a matter of right if: (1) its motion is timely; (2) it has an

interest “relating to the property or transaction which is the subject of the action;” (3) the outcome

of the action may, “as a practical matter, impair or impede his ability to protect that interest;” and

(4) the existing parties cannot adequately represent that interest. Wal-Mart Stores, Inc. v. Texas

Alcoholic Beverage Comm’n, 834 F.3d 562, 565 (5th Cir. 2016). This test applies whether a party

seeks to intervene as a plaintiff or a defendant. See Texas v. United States, 805 F.3d 653, 657 (5th

Cir. 2015).

       Rule 24 is “liberally construed” in favor of intervention. Blumfield v. Dodd, 749 F.3d 339,

341 (5th Cir. 2014). “[D]oubts [are] resolved in favor of the proposed intervenor.” In re Lease


                                                  2
                                                                                      NV Exh F0087
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 89 of 98 PageID 1645



Oil Antitrust Litig., 570 F.3d 244, 248 (5th Cir. 2009). Intervention as a matter of right “must be

measured by a practical rather than a technical yardstick,” and the inquiry is a “flexible one”

focused on the “particular facts and circumstances” of each case. Edwards v. City of Houston, 78

F.3d 983, 999 (5th Cir. 1996) (en banc). “Federal courts should allow intervention where no one

would be hurt and the greater justice could be obtained.” Texas, 805 F.3d at 657; Sierra Club v.

Espy, 18 F.3d 1202, 1206 (5th Cir. 1994).

       Nevada satisfies all four requirements.

       A.      Nevada’s Motion Is Timely Because It Was Filed Six Weeks After this Court
               Granted Its Amended Class Certification Order, Converted Pending Motions
               into Dispositive Motions, and the Federal Government Stated it Would not
               Defend the ACA Provisions.
       Here, a court considers four factors when evaluating the timeliness of a motion to intervene:

               (1)   The length of time the applicants knew or should have known of their interest

                     in the case;

               (2)   Prejudice to existing parties caused by the applicant’s delay;

               (3)   Prejudice to the applicant if the motion is denied; and

               (4)   Any unusual circumstances.

Stallworth v. Monsanto Co., 558 F.2d 257, 264–66 (5th Cir. 1977). Each factor here demonstrates

the timeliness of Nevada’s motion under the circumstances of this case.

       The first inquiry is contextual, as “absolute measures of timeliness should be ignored.”

Espy, 18 F.3d at 1205. The clock beings to run when the applicants knew or reasonably should

have known of their interests, or from the time they became aware that their interests would no

longer be protected by the existing parties to the lawsuit. Edwards, 78 F.3d at 1000; Espy, 18 F.3d

at 1206.

       Nevada files this motion less than six weeks after the Federal Government Defendants filed

their “Response to Plaintiffs’ Motion for Summary Judgment and Permanent Injunction,” by which

they stated they “do not oppose an order by this Court entering partial summary judgment on the

legal question whether any employers or individuals who in fact fall within the certified classes



                                                 3
                                                                                      NV Exh F0088
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 90 of 98 PageID 1646



have stated a valid RFRA claim.” (ECF No. 38 at 3). This is so even though the Defendants have

not yet filed a responsive pleading to Plaintiffs’ original or amended complaint and no discovery

appears to have taken place. The Fifth Circuit has found motions to intervene to be timely even

when filed at substantially later points in litigation. Wal-Mart, 834 F.3d at 565–66 (finding

intervention timely after denial of motion to dismiss, three months after answer was filed, and

“before discovery progressed”); Association of Professional Flight Attendants v Gibbs, 804 F.2d

318, 320–21 (5th Cir. 1986) (finding intervention timely following a five month delay when all

Stallworth factors considered).

       None of the other Stallworth factors weigh against Nevada. Prejudice to the existing parties

is measured by any delay in seeking intervention (of which there is none), not based on potential

inconvenience of permitting Nevada from participating in the litigation. Espy, 18 F.3d at 1206.

This action has not advanced to a stage where any existing party would be prejudiced. To the

contrary, this Court has issued an “Unopposed Motion for Temporary Restraining Order” to shield

class representatives from tax penalties pending briefing on the pending motions. (ECF Nos. 28-

29 at 2). No unusual circumstances weigh against a finding of timeliness.

       As described below, Nevada will be significantly prejudiced if not permitted to intervene.

This Court must permit Nevada to defend the merits of existing federal law, and to explain the

effects of nationwide relief on Nevada law, which balance religious objections with the compelling

interest Nevada has financially and for its citizens’ health outcomes resulting from providing

contraceptive care to its citizens. Courts should permit intervention “where no one would be hurt

and the greater justice could be attained.” Espy, 18 F.3d at 1205. The motion satisfies Rule

24(a)(2)’s timeliness requirement.

       B.      Nevada Has Direct, Substantial, and Legally Protectable Interests that Will
               Likely be Impaired by this Litigation.

       Nevada also satisfies Rule 24’s requirement that intervenors must have a “direct,

substantial, legally protectable interest in the proceedings.” Texas, 805 F.3d at 657. This requires

a showing that Nevada has a “stake in the matter” beyond a “generalized preference


                                                 4
                                                                                   NV Exh F0089
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 91 of 98 PageID 1647



that the case come out a certain way.” Id. Property or pecuniary interests are the “most elementary

type[s] of right[s]” protected by Rule 24(a) and “are almost always adequate.”

Id. at 658. Rule 24(a) also safeguards less tangible interests, however, such as a right to vote.

See, e.g., League of United Latin American Citizens, District 19 v. City of Boerne, 659 F.3d 421,

434 (5th Cir. 2011).

        Nevada meets this test. Plaintiffs propose a nationwide class that would circumvent

existing federal statutes and allow employers to not provide contraception coverage, reversing

significant reductions in unplanned pregnancies and abortions in Nevada, necessitating significant

additional spending in Nevada on contraception access and corresponding increased hospital costs

for said unplanned pregnancies. This increase in spending constitutes a sufficiently adequate

injury to establish Nevada’s interest in this litigation. See, e.g., Wal-Mart, 834 F.3d at 568 (“[W]e

have continued to hold that economic interests can justify intervention when they are directly

related to the litigation.”).

        In Nevada, more than 379,000 women of child bearing age (aged 15–44) receive private

insurance coverage and could be affected by Plaintiffs’ proposed class action relief. (Ex. A at ¶

2). In Nevada, some women who would be impacted by Plaintiffs’ proposed nationwide class

action would not qualify for Medicaid or Title X because they would not meet the income

eligibility requirements for coverage or subsidized care under these programs. (Id.; see also Kaiser

Family Foundation, Medicaid Income Eligibility for Adults as a Percent of the Federal Poverty

Level, State Health Facts, 2018, https://www.kff.org/health-reform/state-indicator/medicaid-

income-eligibility-limits-for-adults-as-a-percent-of-the-federal-poverty-level). For example, in

Nevada, childless adults and parents are eligible for full-benefit Medicaid only if they have

incomes at or below 138% of the federal poverty level. Id. As a result, some women would be at

increased risks of unintended pregnancy, either because they are not able to afford the

contraception methods that work best for them or because cost would force them to forgo

contraception use entirely. (Ex. A at ¶ 4). Even based on the calculations in the Federal




                                                 5
                                                                                    NV Exh F0090
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                     Page 92 of 98 PageID 1648



Government’s proposed Final Rules, between 600 to 1,200 Nevadan women would be harmed

from implementation of Plaintiffs’ proposed class relief. (Id. at ¶ 5).

           Even Nevada women eligible for publicly funded family planning services through

Medicaid and Title X could be denied the ability to obtain contraceptive counseling and services

from their desired provider at the same time they receive other primary and preventive care. This

situation would increase the time, effort, and expense involved in getting needed contraception

while interfering with health care providers’ ability to holistically managing these women’s health

conditions. (Id. at ¶ 6).

           Finally, the increase in Nevada women relying on publicly funded services would strain

Nevada’s existing family planning programs and providers, making it more difficult for them to

meet the current need for care. For instance, in 2014, 194,000 women were in need of publicly

funded family planning in Nevada, with the existing state family planning network only able to

meet 10% of this need. (Id. at ¶ 5; Ex. B at § 59; 2 see also Frost JJ, Frohwirth L and Zolna MR,
Contraceptive Needs and Services, 2014 Update, New York: Guttmacher Institute, 2016,

https://www.guttmacher.org/sites/default/files/report_pdf/contraceptive-needs-and-services-

2014_1.pdf).

           Nevada is particularly concerned that loss of access to contraception would lead to

unintended pregnancies and abortions.          According to the Centers for Disease Control and

Prevention (“CDC”), unintended pregnancy is associated with an increased risk of health problems

for       the   mother   and   child,   resulting   in   increased   healthcare   costs   relative   to

intended pregnancies. (Ex. A at ¶ 8). Before implementation of the Affordable Care Act, 29,000

unintended pregnancies occurred in 2010 among Nevada residents, a rate of 54 per 1,000

women of child bearing age. (Id. at ¶ 9; Ex. B at ¶ 60; see also Kost K, Unintended Pregnancy


      2
       Ms. Kost, is the Acting Vice President for Domestic Research at the Guttmacher Institute,
having served in various capacities there for nearly 30 years. Ex. B at § 1. Her declaration
describes harms associated with Plaintiffs’ proposed permanent injunction, both on a nationwide
and Nevada-specific basis.


                                                    6
                                                                                     NV Exh F0091
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 93 of 98 PageID 1649



Rates at the State Level: Estimates for 2010 and Trends Since 2002, New York: Guttmacher

Institute,      2015,    https://www.guttmacher.org/report/unintended-pregnancy-rates-state-level-

estimates-2010-and-trends-2002). Of those unintended pregnancies that ended in birth, 60% were

paid for by Medicaid and other public insurance programs, costing Nevada $37 million and the

federal government $66 million in 2010. (Ex. A at ¶ 10; Ex. B. at 61; see also Sonfield A and

Kost K, Public Costs from Unintended Pregnancies and the Role of Public Insurance Programs

in Paying for Pregnancy-Related Care: National and State Estimates for 2010, New York:

Guttmacher        Institute,   2015,    https://www.guttmacher.org/report/public-costs-unintended-

pregnancies-and-role-public-insurance-programs-paying-pregnancy).

           Further, the CDC notes that women with unintended pregnancies are more likely to delay

prenatal care, with is imperative to positive birth outcomes. Implementation of the ACA resulted

in a 35% decrease in Nevada’s abortion rate among women aged 15 to 19 and a 10% decrease

amount women aged 20 to 24 between 2012 to 2017. Ex. A at ¶ 11. Plaintiffs’ proposed class

action would increase Nevada expenditures while harming the public heath of Nevada women. Id.

at ¶ 12.

           In addition to Nevada’s proprietary injuries, the Supreme Court has recognized that States

have a quasi-sovereign interest in the physical and economic well-being of their residents. See,

e.g., Alfred L. Snapp & Son v. Puerto Rico, 458 U.S. 592, 607-608 (1982), Massachusetts v. E.P.A.,

549 U.S. 497, 519-20 (2007). Nevada has demonstrated the extensive harm to itself and its

residents that would flow from Plaintiffs’ unopposed prosecution of this lawsuit.

           C.     This Suit Will Impair Nevada’s Ability to Protect Its Interests in the ACA’s
                  Contraception Provisions.
           If Plaintiffs prevail, the proposed nationwide class action would “impair or impede”

Nevada’s ability to protect its interests detailed above. Wal-Mart, 834 F.3d at 565. Without regard

to Nevada’s interests, Plaintiffs seek to impose nationwide restrictions outside the ongoing federal

rulemaking process—a process that requires opportunities for interested parties to participate.




                                                   7
                                                                                    NV Exh F0092
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                    Page 94 of 98 PageID 1650



Significant numbers of Nevadan women will lose access to necessary healthcare, reversing

significant public health gains achieved following adoption of the ACA.

       Nevada should not be forced to “wait on the sidelines” while a court decides issues

“contrary to their interests.” Brumfield, 749 F.3d at 344–45. Rather, the “very purposes of

intervention is to allow interested parties to air their views so that a court may consider them before

making potentially adverse decisions.” Id. at 345 (emphasis added). Indeed, the mere “stare

decisis effects of the district court’s judgment” sufficiently impairs Nevada’s interests to allow it

to intervene now. Espy, 18 F.3d at 1207.

       D.      The Federal Defendants Do Not Adequately Represent Nevada’s Interests.

               1.      No Party Has Defended Current Federal Statute.

       No current party represents Nevada’s interests in defense of current law. The Federal

Defendants:
       •       Have not filed a formal response to Plaintiffs’ original or amended

               complaint;

       •       Did not oppose Plaintiffs’ motion for a temporary restraining order; and

       •       Do not oppose partial summary judgment or a permanent injunction on the

               legal question of whether any employers or individuals who in fact fall

               within the certified classes have stated a valid RFRA claim.

Federal Defendants take this position even though this Circuit has concluded that similarly situated

Plaintiffs have not shown and are not likely to show that the Contraception Mandate substantially

burdens their religious exercise. See East Texas Baptist Univ. v. Burwell, 793 F.3d 449 (5th Cir.

2015). 3 These circumstances more than satisfy the “minimal” requirement that the Federal

Defendants’ representation of Nevada’s interests “may be inadequate.” Edwards, 78 F.3d at 1005.


   3
        Nevada recognizes that the United States Supreme Court vacated this Circuit’s decision in
Zubik v. Burwell, 136 S. Ct. 1557, 194 L.Ed. 2d 696 (2016), to allow the parties to those cases to
explore whether further modifications to the existing accommodation procedure could resolve the
asserted objections while still ensuring affected women receive full and equal health coverage,
including contraceptive coverage. Based in part on comments that the process described in Zubik

                                                  8
                                                                                     NV Exh F0093
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                Page 95 of 98 PageID 1651



               2.     No Presumption of Adequate Representation Applies Here.

       Further, no presumptions associated with adequate representation apply here. Federal

Defendants are neither “charged by law” with representing Nevada’s interests, nor do they share

the same “ultimate objective” in this case. See Entergy Gulf States La., LLC v. E.P.A., 817 F.3d

198, 203 (5th Cir. 2016). In particular, Federal Defendants do not share Nevada’s “ultimate

objective” to preserve the balance of religious beliefs and public health created in the ACA’s

contraception provisions, which this Circuit previously recognized complied with RFRA. As

made clear throughout this case and others throughout the United States, the Federal Defendants

do not support existing law.

               3.     The Federal Defendants Have Adversity of Interest or Nonfeasance
                      Here.
       Any presumption that the Federal Defendants adequately represent Nevada’s interests is

defeated by the demonstration of “adversity of interest” or “nonfeasance” by the Federal

Defendants in this case. Id. Here, as demonstrated by the case’s docket, the Federal Defendants

demonstrate nonfeasance by their inactions and concessions in this case. Further, to demonstrate

an “adversity of interest,” Nevada needs to only show that its “interests may not align precisely”

with the Federal Defendants. Brumfield, 749 F.3d at 345. This Circuit has repeatedly held that

“the lack of unity in all objectives, combined with real and legitimate additional or contrary

arguments, is sufficient to demonstrate that the representation may be inadequate. Id. at 346

(emphasis added).

       The Federal Defendants inadequately represent Nevada’s interests. Thus, Nevada itself

must protect the public health of its citizens and preserve millions of dollars no longer spent on

would not resolve the concerns of religious objectors, the Departments concluded that there was
no feasible approach “identified at this time.” See U.S. Dep’t of Labor, Emp. Benefits Sec.
Admin., FAQs About Affordable Care Act Implementation Part 36, (Jan. 9, 2017), attached hereto
as Exhibit C. The Departments further noted that they “continue to believe the existing
accommodation regulations are consistent with RFRA” based on the prior holdings by eight other
Circuits (including this one) that the requirement does not substantially burden their exercise of
religion. Id. Nevada submits (and would argue, upon intervention) that the prior analysis
undertaken by this Circuit should govern this Court’s analysis of that legal question.


                                                9
                                                                                 NV Exh F0094
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 96 of 98 PageID 1652



unplanned pregnancies, as accounted for under the ACA’s contraception provisions. Nor do the

Federal Defendants defend existing federal statutes in this case, as previously upheld by this

Circuit. Rather, they seek to alter those statutes through the rulemaking process presently

challenged in other federal courts. Again, the Federal Defendants do not represent Nevada’s

interest.

        Because Nevada has identified “particular ways in which their interests diverge” from the

Federal Defendants, they are entitled to intervene. Texas, 805 F.3d at 663. This Circuit has

repeatedly held that intervention is required under these circumstance, where the proposed

intervenor sought intervention as a defendant, rebutted the presumption of adequate representation,

and showed adversity of interest from divergent interests and legal arguments from the existing

defendants. See Brumfield, 749 F.3d at 346, Texas, 805 F.3d at 663, Entergy Gulf States, 817 F.3d

at 204–205; Wal-Mart, 834 F.3d at 569. Because Nevada has met those requirements, this Court

should grant it intervention as a matter of right.

II.     In the Alternative, Nevada Should Be Granted Permissive Intervention.

        Alternatively, Nevada is entitled to permissive intervention under Rule 24(b), which

permits the Court to use its discretion to grant intervention where the application is timely, there

is a common question of law or fact, and there will be no undue delay or prejudice to the original

parties. Kneeland v. Nat’l Collegiate Athletic Ass’n, 806 F.2d 1285, 1289 (5th Cir. 1987); In re

Enron Corp. Sec. Derivative & “ERISA” Litig., 229 F.R.D. 126, 131 (S.D. Tex. 2005). Rule

24(b)(2) further allows a state such as Nevada to intervene on a timely motion where a claim is

premised on “a statute or executive order administered by [Nevada].” The Fifth Circuit has also

instructed that “[f]ederal courts should allow intervention where no one would be hurt and the

greater justice could be obtained.” Texas, 805 F.3d at 657 (citing Epsy, 18 F.2d at 1205).

        First, as discussed above, Nevada’s motion is timely. Second, it is clear that Nevada,

without a final determination of the merits, has asserted a defense that shares a question of law


                                                 10
                                                                                   NV Exh F0095
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19                  Page 97 of 98 PageID 1653


with Plaintiffs pertaining to whether the ACA’s contraception provisions constitute a RFRA

violation. Third, given the existing temporary restraining order protecting named Plaintiffs and

the ability of any other class member to seek similar relief, the intervention would not cause undue

delay or prejudice to the original parties. This Court should allow Nevada to file its proposed

opposition, and provide Plaintiffs an opportunity to file a reply. Under these circumstances, full

and adequate briefing on all sides of this case will not cause prejudice. Cf. Texas, 805 F.3d at 657

(where greater justice can be obtained, intervention should be permitted).

                                         CONCLUSION

       For the foregoing reasons, Nevada respectfully requests this Court to grant their motion to

intervene as of right, or alternatively for permissive intervention, allowing them to intervene in

this lawsuit as defendants. As part of its Appendix to this Brief, Nevada submits a proposed Order

granting this Motion (Exhibit D), its proposed Opposition to Plaintiffs’ Motion for Summary

Judgment and Permanent Injunction (Exhibit E), and a proposed Brief supporting said Opposition

(Exhibit F).

       DATED: May 24, 2019.

                                              AARON D. FORD
                                              Attorney General

                                              By: /s/ Craig A. Newby
                                                 HEIDI PARRY STERN (NV Bar No. 8873)
                                                 Solicitor General
                                                 CRAIG A. NEWBY (NV Bar No. 8591)
                                                 Deputy Solicitor General




                                                11
                                                                                   NV Exh F0096
Case 4:18-cv-00825-O Document 62-2 Filed 05/24/19              Page 98 of 98 PageID 1654



                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing by using the CM/ECF system on

the 24th day of May, 2019.




                                           By:     /s/ Sandra Geyer
                                                  Sandra Geyer, Employee of the Office
                                                  of the Attorney General




                                             12
                                                                               NV Exh F0097
